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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

AMGUARD INSURANCE COMPANY,                        )
                                                  )
                       Plaintiff                  )
v.                                                )   Civil Action No. 4:16-cv-2592
                                                  )
BATHS OF AMERICA, INC., and                       )
ALLEN MEISEL AND MINDY MEISEL,                    )
                                                  )
                      Defendants                  )

______________________________________________________________________________

        FIRST AMENDED COMPLAINT FOR DECLARATORY JUDGMENT
______________________________________________________________________________

       Plaintiff AmGUARD Insurance Company (“AmGUARD”) files this First Amended

Complaint for Declaratory Judgment, pursuant to the Court’s ruling orally rendered on February

20, 2018, on AmGUARD’s oral Motion for Leave to Amend, and respectfully shows the Court:

       1.      AmGUARD is an insurance company incorporated and organized under the laws

of the State of Pennsylvania, with its principal place of business in the State of Pennsylvania.

AmGUARD is an eligible foreign insurer in the State of Texas. AmGUARD is a citizen of the

state of Pennsylvania and is not a citizen of the State of Texas.

       2.      Defendant Baths of America, Inc. (“Baths of America”) is a citizen of the State of

Texas and has been served and made an appearance.

       3.      Defendants Allen and Mindy Meisel (“the Meisels”) are citizens of the State of

Texas, each of whom have been served and made an appearance.

       4.      The matter in controversy exceeds, exclusive of interest and costs, the sum of

Seventy-Five Thousand and 00/100 dollars ($75,000). The Plaintiff and Defendants are citizens
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of different states. Jurisdiction is predicated upon diversity of citizenship and the amount in

controversy pursuant to §28 U.S.C. 1332.

       4.      On or about May 28, 2016, a fire occurred at the premises of Baths of America at

its business location of 4230 Richmond Avenue in Houston, Texas. The fire was a large one, and

caused damages well in excess of $75,000.

       5.      At the time of the fire, Baths of America carried property insurance under a policy

issued by AmGUARD, under Businessowner’s Policy number BABP700014 (the “Policy”). A

copy of the Policy is attached as Exhibit A to this First Amended Complaint. The Policy

information page on page AmGUARD/Baths Certified Policy 002 of Exhibit A identifies “Baths

of America, Inc.” as the Named Insured. The Policy afforded certain property loss coverage

subject to the terms, provisions, conditions and exclusions contained therein.

       6.      Prior to the fire, an endorsement entitled “Businessowners Policy Changes” was

added to the Policy to identify the Meisels as “Additional Insured – Co-Owner of Insured

Premises.” This endorsement was processed on February 2, 2016. The endorsement is found at

page AmGUARD/Baths Certified Policy 104 of Exhibit A. Also prior to the fire, an endorsement

was added to the Policy entitled “Additional Insured – Co-Owner of Insured Premises”, which

identifies the Meisels “but only with respect to liability as a co-owner of the premises shown in

the Schedule.” This endorsement is found at page AmGUARD/Baths Certified Policy 107 of

Exhibit A.

       7.      After the fire occurred, an endorsement entitled “Businessowners Policy

Changes” was processed on May 31, 2016 to identify the Meisels as “Building Owners.” This

endorsement is found at page AmGUARD/Baths Certified Policy 111 of Exhibit A. Another

endorsement entitled “Additional Insured – Building Owner” was added to the Policy. This



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endorsement is found at page AmGUARD/Baths Certified Policy 113 of Exhibit A. Because this

last endorsement was not added until after the fire, the Meisels were not additional insureds

under the Policy at the time of the fire as to the property coverage portion of the Policy.

        8.      The Policy contains a specific endorsement regarding required protective

safeguards which must be in place as a condition precedent to entitlement to property coverage.

This endorsement is found at page AmGUARD/Baths Certified Policy 32 of Exhibit A. In

addition to this condition precedent to coverage, the endorsement also provides a specific

exclusion for property claims resulting from fire when the required protective safeguards are not

met. Without such required safeguards maintained in complete working order, certain coverages

are specifically excluded.

        9.      Specifically, Policy endorsement Number BP 04 30 01 06, entitled “Protective

Safeguards”, requires stated protective safeguards which include, “Central Station Burglar Alarm

Local Fire Alarm”, which protective safeguards must be maintained in complete working order

prior to a loss by fire.

        10.     More specifically, Endorsement Number BP 04 30 01 06 states as follows:




                             TEXT CONTINUED ON NEXT PAGE




                                                  3
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       11.    According to the foregoing endorsement, there is a specified condition precedent

to coverage that the specified protective safeguards must be maintained in complete working

order for there to be coverage for Baths of American and/or the Meisels.

       12.    Moreover, according to the foregoing endorsement, there is also an exclusion for

damages resulting from fire if, prior to the fire, Baths of America and/or the Meisels failed to




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maintain the required Central Station Burglar Alarm Local Fire Alarm in complete working

order.

         13.    AmGUARD’s investigation of the claim included, but was not limited to,

obtaining statements made by Mr. Ali Sultani, President and Director of Baths of America, and

also obtaining documents provided by ADT, the company which provided certain alarm services

for Baths of America.

         14.    AmGUARD’s investigation revealed that there was no Local Fire alarm in place,

as required by the Policy, as stated by Mr. Sultani in a consented videotaped interview. Instead, it

was determined that Baths of America and/or the Meisels only had motion and entry sensors in

place through an alarm system with ADT.

         15.    After conducting its claim investigation, AmGUARD issued a letter to Baths of

America, and sent a copy to the Meisels, advising that there could be no coverage for the

damages caused by the fire in light of the insureds’ failure to meet the requirements of

Endorsement BP 04 30 01 06.

         WHEREFORE, PREMISES CONSIDERED, AmGUARD prays that the Court will, upon

a final hearing, enter a declaratory judgment pursuant to 28 U.S.C. § 2201 regarding the rights

and obligations between AmGUARD and Baths of America and the Meisels, ruling that the

terms, conditions, provisions and exclusions under the AmGUARD Policy do indeed preclude

any obligation by AmGUARD to provide indemnification to Baths of America or the Meisels

related to the fire claim at issue.




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                                            Respectfully submitted,

                                            By:     /s/ Christopher W. Martin
                                                    Christopher W. Martin
                                                    State Bar No. 13057620
                                                    Federal Bar No. 13515
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Telephone: (713) 632-1700
Facsimile: (713) 222-0101



                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing pleading has been forwarded
on February 23, 2018 to the following counsel of record by the method specified:

       Andrew Sher
       THE SHER LAW FIRM, PLLC
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       Houston, Texas 77098
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                                             /s/ Robert G. Dees
                                             Robert G. Dees

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                                                   AmGUARD/Baths Certified Policy 001
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                                                                                                 BUSINESSOWNER’S POLICY
                                                                                                 DECLARATIONS

                                              AmGUARD Insurance Company
Issued: 01/04/2016                                A Stock Company
Policy No.: BABP700014                                                                    Renewal of: NEW

                                               POLICY INFORMATION PAGE


  [1]     Named Insured and Mailing Address
          Baths of America, Inc
          4230 Richmond Ave
          Houston, TX 77027




  [2]     Agency
          SECURED RISK INSURANCE GROUP
          4151 Southwest Freeway
          Suite 520
          Houston, TX 77027

  [3]     Policy Period
          From January 1, 2016 to January 1, 2017, 12:01 AM, standard time at the insured’s mailing address.


  [4]     Description of Business
          All Other Miscellaneous Store Retailers (except Tobacco Stores)

  [5]     Coverage
          This policy consists of the Coverage Forms listed on the Schedule of Forms and Endorsements (IIT SF
          01 05).

  [6]     Premium
          The premium shown below may be subject to adjustment.
          Terrorism - Certified Acts                                                     Excluded
          TOTAL POLICY PREMIUM                                                         $12,239.00
          TOTAL PAYABLE                                                                $12,239.00




  [7]     Payment of Premium
          In return for your payment of premium, and subject to all terms of this policy, we agree with you to provide
          insurance as stated in this policy.




IIT DS 01 05            16 South River Street • P.O. Box A-H • Wilkes-Barre, PA 18703-0020 • www.guard.com       Page 1 of 6

                                                                                            AmGUARD/Baths Certified Policy 002
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                                                                                 BUSINESSOWNER’S POLICY
                                                                                 DECLARATIONS
Issued: 01/04/2016

Policy No.: BABP700014                                                      Effective Date: 01/01/2016

                      SECTION I – PROPERTY COVERAGES AND LIMITS OF INSURANCE




LOCATION: 001 BUILDING: 001
4230 Richmond Ave
Houston, TX 77027-6839
Harris County

Property Deductible: $1,000
Wind/Hail Deductible: 2%
Optional Coverages/Glass Deductible: $500
Classification: 53989 - Home Improvement Store


MANDATORY COVERAGES:

Building
  Limit of Insurance $1,350,000
  Valuation Replacement Cost
  Coverage Includes:
     Automatic Increase - Building limit applies up to 2% per year

Business Personal Property
  Limit of Insurance $500,000
  Valuation Replacement Cost
  Coverage Includes:
   Seasonal Increase - Business Personal Property limit applies up to 25%


OPTIONAL COVERAGES:

Awnings Coverage
   Limit                                                              $2,500
Building Coverage
   Limit                                                              $1,350,000
   Valuation                                                          Replacement Cost
   Inflation Guard %                                                  2
Business Personal Property Coverage
   Limit                                                              $500,000
   Seasonal Increase Percent                                          25
Liability
   Limit                                                              Included
Accounts Receivable
   On-Premises Limit                                                  $25,000
   Off-Premises Limit                                                 25,000
Debris Removal
   Limit                                                              25%/$10,000
Ordinance or Law - Increased Cost Of Construction

IIT DS 01 05                                                                                        Page 2 of 6

                                                                             AmGUARD/Baths Certified Policy 003
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                                                                                    BUSINESSOWNER’S POLICY
                                                                                    DECLARATIONS
Issued: 01/04/2016

Policy No.: BABP700014                                                         Effective Date: 01/01/2016

   Limit                                                                 $10,000
Outdoor Property
   Limit                                                                 $10,000
Outdoor Signs - Optional Coverage
   Limit                                                                 $5,000
Protective Safeguards
   Protective Safeguards                                                 P-9B|P-9C|
Retail Stores Coverage
   Brands and Labels                                                     BPP Limit
   Credit Card Slips                                                     $10,000
   Delivery Errors and Omissions Coverage                                $10,000
   Lock Replacement                                                      $1,000
   Loss Payment on Merchandise Sold                                      $25,000
   Merchandise Withdrawal Expenses Coverage                              $25,000
   Ordinance or Law - Equipment Coverage                                 Building/BPP Limit
   Property in Transit (including F.O.B. Shipments)                      $5,000 any one salesperson/$25,000
   Reward Payment                                                        $5,000
   Web Sites (Business Income)                                           7 day period or $50,000/$100,000
Utility Services - Time Element
   Time Element Limit                                                    $25,000
   Utility                                                               Public
   Water Supply                                                          Yes
   Communication Supply                                                  Yes
   Check here to include Overhead Transmission Lines for Communication   Yes
   Supply
   Power Supply                                                          Yes
   Check here to include Overhead Transmission Lines for Power Supply    Yes
Valuable Papers and Records
   On-Premises Limit                                                     $25,000
   Off-Premises Limit                                                    $25,000
Water Back-up and Sump Overflow
   Covered Property Limit                                                $5,000
   Business Income and Extra Expense Limit                               $5,000




IIT DS 01 05                                                                                           Page 3 of 6

                                                                                AmGUARD/Baths Certified Policy 004
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                                                                              BUSINESSOWNER’S POLICY
                                                                              DECLARATIONS
Issued: 01/04/2016

Policy No.: BABP700014                                                   Effective Date: 01/01/2016

                      SECTION II – LIABILITY COVERAGES AND LIMITS OF INSURANCE


Each paid claim for the following coverages reduces the amount of insurance we provide during the applicable
annual period. Please refer to Section II – Liability in the Businessowners Coverage form and any attached
endorsements.


Coverage                                                                Limits of Insurance

Liability and Medical Expenses - Each Occurrence                                           $2,000,000
General Aggregate (Other than Products and Completed Operations)                           $4,000,000
Products & Completed Operations Aggregate                                                  $4,000,000
Medical Expenses (Each Person)                                                                 $5,000
Liability Property Damage Deductible                                                           $1,000
Liability Property Damage Deductible Type                                              Per Occurrence
Liability Deductible - Bodily Injury                                                            None




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                                                                            AmGUARD/Baths Certified Policy 005
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                                                                                 BUSINESSOWNER’S POLICY
                                                                                 DECLARATIONS
Issued: 01/04/2016

Policy No.: BABP700014                                                     Effective Date: 01/01/2016

                           POLICY WIDE COVERAGES AND LIMITS OF INSURANCE


Appurtenant Structures
   Limit                                                               $50,000 combined Building/BPP
Business Income & Extra Expense
   Limit                                                               Refer to form BP 99 41
Damage To Premises Rented To You
   Limit                                                               $50,000
Electronic Data
   Limit                                                               $10,000
Employee Dishonesty
   Limit                                                               $10,000
Fire Department Service Charge
   Limit                                                               $25,000
Fire Extinguisher Systems Recharge Expense
   Limit                                                               $5,000
Forgery or Alteration
   Limit                                                               $10,000
Fungi, Wet Rot, Dry Rot & Bacteria (Mold)
   Property Limit                                                      $15,000
   Business Income/EE Number of Days                                   30
   Liability Coverage Option                                           Exclude Coverage
Glass Expense
   Limit                                                               Actual Loss Sustained
Hired Automobile
   Limit                                                               Included in Liability Limit
Interruption of Computer Operations
   Limit                                                               $10,000
Loss by Theft of furs, fur garments, garments trimmed with fur
   Limit                                                               $2,500
Loss by Theft of jewelry, watches, watch movements, jewels, pearls, precious and semi-precious stones, bullion,
gold, silver, platinum and other precious alloys or metals
   Limit                                                               $5,000
Loss by Theft of patterns, dies, molds and forms
   Limit                                                               $2,500
Money Orders and "Counterfeit Money"
   Limit                                                               $1,000
Newly Acquired Or Constructed Property - Buildings
   Limit                                                               25% of Building Limit/Not more than
                                                                       $500,000/Bldg
Newly Acquired Or Constructed Property - Business Personal Property
   Limit                                                               $250,000
Non-owned Automobile
   Exposure                                                            Without Delivery Service
Personal Effects
   Limit                                                               $5,000
Personal Property Off Premises
   Limit                                                               $10,000
Pollutant Clean Up and Removal
   Limit                                                               $10,000
Preservation of Property
   Limit                                                               Within 30 Days
Terrorism
   Certified Acts                                                      Exclude Coverage

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                                                                             AmGUARD/Baths Certified Policy 006
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                                                                BUSINESSOWNER’S POLICY
                                                                DECLARATIONS
Issued: 01/04/2016

Policy No.: BABP700014                                     Effective Date: 01/01/2016




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                                                             AmGUARD/Baths Certified Policy 007
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                                                                                    BUSINESSOWNERS POLICY
                                                                                    DECLARATIONS

Issued: 01/04/2016

Policy No.: BABP700014                                                        Effective Date: 01/01/2016

                               SCHEDULE OF FORMS AND ENDORSEMENTS

Form Number          Title
IIT DS 01 05         Businessowners Policy Declarations
BP 00 03 01 10       Businessowners Coverage Form
BP IN 01 01 10       Businessowners Coverage Form Index
END SCHD             Schedule Of Forms And Endorsements
IL 99 00 08 13       Authorization and Attestation
                     U.S. Treasury Department's Office Of Foreign Assets Control ("OFAC") Advisory Notice To
IL P 001 01 04
                     Policyholder
PRIV POL             Privacy Policy
BP 99 TX 01 15       TX Policy Customizations
BP 01 18 11 13       Texas Changes
BP 02 04 01 06       Texas Changes - Amendment of Cancellation Provisions or Coverage
PN TX 01 01 15       Texas Policyholder Notice - Complaint Numbers
PN TX 02 01 15       Texas Policyholder Notice - Asbestos Exclusion
BP 03 12 01 10       Windstorm or Hail Percentage Deductibles
BP 04 04 01 10       Hired Auto And Non-owned Auto Liability
BP 04 12 01 06       Limitation Of Coverage To Designated Premises Or Project
BP 04 17 01 10       Employment - Related Practices Exclusion
BP 04 30 01 06       Protective Safeguards
BP 05 01 07 02       Calculation Of Premium
BP 05 24 01 15       Exclusion Of Certified Acts Of Terrorism
                     Exclusion of Certified Acts of Terrorism and Exclusion of Other Acts of Terrorism Committed
BP 05 41 01 15
                     Outside the United States
BP 05 42 01 15       Exclusion Of Punitive Damages Related To A Certified Act Of Terrorism
BP 07 04 01 06       Business Liability Coverage - Property Damage Liability Deductible (Per Occurrence Basis)
BP 99 25 01 10       Retail Stores
BP 99 41 10 14       Business Income, Extra Expense and Related Coverages Limit of Insurance
BP 99 60 03 12       Water Back-up and Sump Overflow
BP 99 63 03 12       Utility Services - Time Element




                                                                               AmGUARD/Baths Certified Policy 008
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                                                                                                               IL 99 00 08 13


                              THIS ENDORSEMENT AUTHORIZES THE POLICY.



                         AUTHORIZATION AND ATTESTATION
This endorsement authorizes the insurance contract between you and the GUARD insurance company subsidiary listed
on the DECLARATIONS PAGE of your insurance policy.


In Witness Whereof, this page executes and fully attests to this policy. If required by state law, the policy shall not be
valid unless countersigned by our authorized representatives.


                                                   Authorizing signatures




                                                      Michael J. Dulin
                                               General Counsel and Secretary




                                                  Sy Foguel, ACAS, FILAA
                                            Chief Executive Officer and President




IL 99 00 08 13                                                                                                    Page 1 of 1
                                                                                        AmGUARD/Baths Certified Policy 009
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                                                                                                 IL P 001 01 04

   U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
               ASSETS CONTROL ("OFAC")
          ADVISORY NOTICE TO POLICYHOLDERS
No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your
policy. You should read your policy and review your Declarations page for complete information on the coverages
you are provided.
This Notice provides information concerning possible impact on your insurance coverage due to directives issued
by OFAC. Please read this Notice carefully.
The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
declarations of "national emergency". OFAC has identified and listed numerous:
    Foreign agents;
    Front organizations;
    Terrorists;
    Terrorist organizations; and
    Narcotics traffickers;
as "Specially Designated Nationals and Blocked Persons". This list can be located on the United States Trea-
sury's web site – http//www.treas.gov/ofac.
In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity
claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and
Blocked Person, as identified by OFAC, this insurance will be considered a blocked or frozen contract and all
provisions of this insurance are immediately subject to OFAC. When an insurance policy is considered to be such
a blocked or frozen contract, no payments nor premium refunds may be made without authorization from OFAC.
Other limitations on the premiums and payments also apply.




IL P 001 01 04                            © ISO Properties, Inc., 2004                              Page 1 of 1

                                                                                  AmGUARD/Baths Certified Policy 010
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                                       Privacy Policy
GUARD Insurance Group, Inc. and its affiliated insurance companies are committed to treating and using
personal financial information about you and your employees responsibly. We will not disclose nonpublic,
personal information about you and your employees to anyone except as permitted or required by law.

This disclosure is made on behalf of the following affiliates of GUARD Insurance Group, Inc.: AmGUARD
Insurance Company; NorGUARD Insurance Company; EastGUARD Insurance Company; and WestGUARD
Insurance Company.

Collecting Information
We collect nonpublic, personal information from you about you and your employees to properly maintain
and service your policy. This nonpublic personal information may come from the following sources:

   •   Application Information and Other Forms. On the application for insurance or other forms
       completed by you, you provide us with most of the information we need to process policies and
       claims.

   •   Transaction Information. We may develop information about you and your employees based on
       transactions and experiences you have with us, our affiliates, or others.

   •   Third-Party Information. This is information that we receive to verify or supplement your
       application or claims.

Disclosing Information
In the course of conducting business and as permitted or required by law, we may share nonpublic
personal information about you and your employees with our affiliated companies. We do not disclose any
nonpublic personal information about you and your employees to any nonaffiliated third parties, except for
the conduct of our business or as permitted or required by law. Information may be supplied to others
providing business services for us. Additionally, we may provide information for audit or research purposes
or to law enforcement agencies to help us prevent fraud.

Securing Information
We restrict access to nonpublic personal information about you and your employees to our employees who
need to know the information necessary to provide products or services to you. We maintain physical,
electronic, and procedural safeguards that comply with applicable regulations to guard the nonpublic,
personal information of you and your employees.




                   A Current Copy of Our Privacy Policy is Always Available at www.guard.com




                           16 South River Street • P.O. Box A-H • Wilkes-Barre, PA 18703-0020
                     Telephone: 570-825-9900 • Customer Service Hotline: 1-800-673-2465, Ext. 1300


                                                                                   AmGUARD/Baths Certified Policy 011
             Case 4:16-cv-02592 Document 72 Filed on 03/21/18 in TXSD Page 19 of 123


                                                                                                                 BUSINESSOWNER’S
                                                                                                                      BP 99 TX 01 15


         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                TX POLICY CUSTOMIZATIONS
This endorsement modifies insurance provided under the following:

BUSINESSOWNER’S COVERAGE FORM

The following is a summary of the coverages and limits provided by this endorsement. For complete details on specific
coverages, see the applicable coverage wording. The limits of insurance stated in this endorsement apply unless higher
limits are shown in the Declarations.
                                                SCHEDULE OF LIMIT CHANGES
                                                        Section I – Property


           Coverage                                        BP 00 03 Limit                                   Revised Limit
   Accounts Receivable                                     $10,000 at premises                              $25,000 at premises
                                                           $5,000 not at premises                           $25,000 not at premises
   Appurtenant Structures                                  n/a                                              $50,000
   Awnings                                                 Included in Building Limit                       $2,500
   Employee Dishonesty                                     Optional                                         $10,000
   Fire Department Service Charge                          $2,500                                           $25,000
   Forgery Or Alteration                                   $2,500                                           $10,000
   Loss or Damage by Theft
               Jewelry, Watches, etc.                      $2,500                                           $5,000
   Newly Acquired Or Constructed Property
               Buildings                                   $250,000                                         25% Buildings Limit/
                                                                                                            $500,000 each Building
               Business Personal Property                  $100,000                                         $250,000
   Outdoor Property / any one tree, shrub or plant         $2,500 / $1,000                                  $10,000 / $1,000
   Outdoor Signs                                           $1,000 attached to buildings only                $5,000 all outdoor signs
   Personal Effects                                        $2,500                                           $5,000
   Premises Boundary Increased                             100 feet                                         1,000 feet
   Valuable Papers And Records                             $10,000 at premises                              $25,000 at premises
                                                           $5,000 not at premises                           $25,000 not at premises


                                                        Section II – Liability


           Coverage                                        BP 00 03 Limit                                   Revised Limit
   Supplementary Payments - Cost Of Bail Bonds             $250                                             $1,000
   Supplementary Payments - Loss Of Earnings               $250                                             $500/day




BP 99 TX 01 15        Includes copyrighted material of the Insurance Services Office, Inc., used with its permission.          Page 1 of 6


                                                                                                     AmGUARD/Baths Certified Policy 012
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TX POLICY CUSTOMIZATIONS

Any reference in Section I — Property of the Business-                      Section I – Property, A.6., Coverage Extensions is
owner’s Coverage Form to within 100 feet of the de-                         amended as follows:
scribed premises is amended to read within 1,000 feet of
the described premises.                                                          1. The last paragraph in Paragraph a. – Newly Ac-
                                                                                    quired Or Constructed Property under (1)
                                                                                    Buildings is replaced with the following:
Section I – Property, A.1., Covered Property is
amended as follows:                                                                   The most we will pay in any one occurrence for
                                                                                      loss or damage under this Extension is 25% of
   1. The following is added to Paragraph a.
                                                                                      the Limit of Insurance for Buildings shown in the
       (7) Building Glass, meaning glass that is part of a                            Declarations, but not more than $500,000 at
           building or structure.                                                     each building.

Section I – Property, A.4., Limitations is amended as                            2. The last paragraph in Paragraph a. – Newly Ac-
follows:                                                                            quired Or Constructed Property under (2)
                                                                                    Business Personal Property is replaced with
   1. Paragraph b.(2) is deleted.                                                   the following:
   2. Paragraph c. is deleted and replaced with the
      following:                                                                      The most we will pay for loss or damage under
                                                                                      this Extension is $250,000 at each building.
       c. For loss or damage by theft, the following
          types of property are covered only up to the                           3. The last sentence in Paragraph b. – Personal
          limits shown:                                                             Property Off-premises is amended as follows:
            (1) $2,500 for furs, fur garments and gar-                                The most we will pay for loss or damage under
                ments trimmed with fur.                                               this Extension is $10,000, unless a higher Limit
            (2) $5,000 for jewelry, watches, watch                                    of Insurance for Personal Property Off-premises
                movements, jewels, pearls, precious and                               is shown in the Declarations.
                semi-precious stones, bullion, gold, sil-
                ver, platinum and other precious alloys or                       4. Paragraph c. - Outdoor Property is replaced
                metals. This limit does not apply to jew-                           with the following:
                elry and watches worth $500 or less per
                                                                                      c.    Outdoor Property
                item.
                                                                                            You may extend the insurance provided by
            (3) $2,500 for patterns, dies, molds and                                        this policy to apply to your outdoor:
                forms.                                                                      (1) Fences, signs (other than signs attached
    3. Paragraph d. is added:                                                                    to buildings), trees, shrubs and plants,
       d. For loss or damage by any covered cause of                                             including debris removal expense. Loss
          loss, we will only pay up to $2,500 per occur-                                         or damage must be caused by or result
          rence for awnings.                                                                     from any of the following causes of loss:
                                                                                                 (a) Fire;
                                                                                                 (b) Lightning;
Section I – Property, A.5., Additional Coverages is                                              (c) Explosion;
amended as follows:                                                                              (d) Riot or Civil Commotion; or
   1. Paragraph c. Fire Department Service Charge                                                (e) Aircraft.
      is replaced with the following:
                                                                                            (2) Radio and television antennas (including
        When the fire department is called to save or                                           satellite dishes), including debris remov-
        protect Covered Property from a Covered Cause                                           al expense. Loss or damage must be
        of Loss, we will pay up to $25,000, unless a dif-                                       caused by or result from any of the fol-
        ferent limit is shown in the Declarations, for your                                     lowing causes of loss:
        liability for fire department service charges:                                          (a) Fire;
       (1) Assumed by contract or agreement prior to                                            (b) Lightning;
           loss; or                                                                             (c) Windstorm;
       (2) Required by local ordinance.                                                         (d) Ice, Snow, Sleet or Hail;
    2. Paragraph k. - Forgery Or Alteration - Para-                                             (e) Explosion;
       graph (4) is replaced with the following:                                                (f) Riot or Civil Commotion; and
                                                                                                (g) Aircraft.
        (4) The most we will pay for any loss, including                                    The most we will pay for loss or damage un-
            legal expenses, under this Additional Cover-                                    der this Extension is $10,000, unless a
            age is $10,000, unless a higher Limit of In-
                                                                                            higher Limit of Insurance for Outdoor Prop-
            surance is shown in the Declarations.
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           erty is shown in the Declarations, but not                                     (f) Paragraph B.2.o. Electrical Disturb-
           more than $1,000 for any one tree, shrub or                                        ance
           plant.                                                                         (g) Paragraph B.3.; and
                                                                                          (h) Paragraph B.6. Accounts Receivable
   5. Paragraph d. – Personal Effects is replaced                                             Exclusion.
      with the following:
                                                                                9. Paragraph g. – Appurtenant Structures is
       You may extend the insurance that applies to
                                                                                   added:
       Business Personal Property to apply to personal
       effects owned by you, your officers, your part-                               g. Appurtenant Structures
       ners or "members", your "managers" or your                                         (1) When there is a Building Limit of Insur-
       employees. This extension does not apply to:                                           ance shown in the Declarations at the
       (1) Tools or equipment; or                                                             described premises, you may extend the
       (2) Loss or damage by theft.                                                           insurance provided by this Coverage
       The most we will pay for loss or damage under                                          Form to apply to direct physical loss or
       this Extension is $5,000 at each described prem-                                       damage caused by or resulting from a
       ises.                                                                                  Covered Cause of Loss to incidental ap-
                                                                                              purtenant structures within 1,000 feet of
   6. Paragraph e. – Valuable Papers And Records                                              the described premises.
      Paragraph (3) is replaced with the following:                                       (2) When there is a Business Personal
       (3) The most we will pay under this Coverage                                           Property Limit of Insurance shown in the
           Extension for loss or damage to "valuable                                          Declarations at the described premises,
           papers and records" in any one occurrence                                          you may extend the insurance provided
           at the described premises is $25,000, unless                                       by this Coverage Form to apply to direct
           a higher Limit of Insurance for "valuable pa-                                      physical loss or damage caused by or
           pers and records" is shown in the Declara-                                         resulting from a Covered Cause of Loss
           tions.                                                                             to Business Personal Property within in-
                                                                                              cidental appurtenant structures within
           For "valuable papers and records" not at the
                                                                                              1,000 feet of the described premises.
           described premises, the most we will pay is
           $25,000.                                                                       (3) Incidental appurtenant structures include
                                                                                              storage buildings, carports, garages and
   7. Paragraph f. – Accounts Receivable Paragraph                                            similar structures which have not been
      (2) is replaced with the following:                                                     specifically described in the Declara-
                                                                                              tions.
       (2) The most we will pay under this Coverage
                                                                                          The most we will pay for loss or damage un-
           Extension for loss or damage in any one oc-
                                                                                          der this Coverage Extension in any one oc-
           currence at the described premises is
                                                                                          currence for any combination of loss or
           $25,000, unless a higher Limit of Insurance
                                                                                          damage to Building and Business Personal
           for accounts receivable is shown in the Dec-
                                                                                          Property is $50,000.
           larations.
           For accounts receivable not at the described
                                                                          Section I – Property, B. Exclusions 2. is amended as
           premises, the most we will pay is $25,000.                     follows:
   8. Paragraph f. – Accounts Receivable Paragraph                             1. Paragraph q. Asbestos is added:
      (3) is replaced with the following:                                           q.    Asbestos
       (3) Paragraph B. Exclusions in Section I –                                         Any loss, damage or expense which would
           Property does not apply to this Coverage                                       not have occurred in whole or in part but for
           Extension except for:                                                          the presence of asbestos.
           (a) Paragraph B.1.c. Governmental Ac-
               tion;
                                                                          Section I – Property, G. Optional Coverages is
           (b) Paragraph B.1.d. Nuclear Hazard;
                                                                          amended as follows:
           (c) Paragraph B.1.f. War And Military Ac-
               tion;                                                           1. Paragraph 1. – Outdoor Signs Paragraph d. is
           (d) Paragraph B.2.f. Dishonesty;                                       replaced with the following:
           (e) Paragraph B.2.g. False Pretense;
                                                                                    The most we will pay for loss or damage in any
                                                                                    one occurrence is $5,000, unless a higher Limit

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       of Insurance for Outdoor Signs is shown in the                                (10) Computer or software design, advice or con-
       Declarations.                                                                      sultation, programming services including vi-
                                                                                          rus protection, firewall or web site design.
   2. Paragraph 3. – Employee Dishonesty Para-
      graph c. is replaced with the following:
                                                                                3. Under 1., Applicable To Business Liability
       The most we will pay for loss or damage in any                              Coverage, Paragraph k., Damage To Property,
       one occurrence is $10,000, unless a higher Limit                            the following is added to the last paragraph:
       of Insurance for Employee Dishonesty is shown
                                                                                     Paragraphs (3) and (4) of this exclusion do not
       in the Declarations.
                                                                                     apply to “property damage” to borrowed equip-
                                                                                     ment while not being used to perform operations
Section II – Liability, A. Coverages is amended as
                                                                                     at a job site.
follows:
   1. Under Business Liability Paragraph f., Cover-                             4. Under 1., Applicable To Business Liability
      age Extension – Supplementary Payments,                                      Coverage, Paragraph m., Damage To Your
      Paragraph (1), sections (b), (c) and (d) are re-                             Work, the following is deleted:
      placed with the following:
                                                                                     This exclusion does not apply if the damaged
       (b) Up to $1,000 for cost of bail bonds required                              work or the work out of which the damage arises
           because of accidents or traffic law violations                            was performed on your behalf by a subcontrac-
           arising out of the use of any vehicle to which                            tor.
           Business Liability Coverage for "bodily injury"
           applies. We do not have to furnish these                             5. Under 1., Applicable To Business Liability
           bonds.                                                                  Coverage, Paragraph p. Personal And Adver-
       (c) The cost of appeal bonds or bonds to re-                                tising Injury, Paragraph (1) is deleted and re-
           lease attachments, but only for bond                                    placed with the following:
           amounts within our Limit of Insurance. We
           do not have to furnish these bonds.                                       (1) Caused by or at the direction of or with the
       (d) All reasonable expenses incurred by the in-                                   consent or acquiescence of any insured with
                                                                                         the knowledge that the act would violate the
           sured at our request to assist us in the in-
                                                                                         rights of another and would inflict "personal
           vestigation or defense of the claim or "suit",
                                                                                         and advertising injury";
           including actual loss of earnings up to $500
           a day because of time off from work.
                                                                                6. Under 1., Applicable To Business Liability
Section II – Liability, B. Exclusions is amended as                                Coverage, Paragraph p., Personal and Adver-
follows:                                                                           tising Injury, the following is added:

   1. Under 1., Applicable To Business Liability                                      (14) Arising out of:
      Coverage, Paragraph a., Expected Or Intend-                                          (a) Your placement of advertising for others
      ed Injury is deleted and replaced with the follow-                                       on your web site or a link to or a refer-
      ing:                                                                                     ence to a web site or web address of
                                                                                               others on your web site.
       a.   Expected Or Intended Injury                                                   (b) Your placement of content or company
            "Bodily injury" or "property damage" (includ-                                      brand or product information from others
            ing any unexpected or unintended portion                                           on your web site or on any frame or bor-
            thereof) if any “bodily injury” or “property                                       der within your web site.
            damage” was expected or intended from the                                     (c) Software or programming related to your
            standpoint of any insured. This exclusion                                          web site’s design, appearance or func-
            does not apply to "bodily injury" resulting                                        tions.
            from the use of reasonable force to protect
            persons or property.                                                     (15) Arising out of discrimination, harassment or
   2. Under 1., Applicable To Business Liability                                          humiliation by an officer, director, member
      Coverage, Paragraph j., Professional Services                                       or partner of the insured.
      (8) and (9) are amended and (10) is added as
      follows:                                                                       (16) Arising out of representations made by you
                                                                                          or your agents regarding the value or suita-
       (8) Any body piercing services (not including ear                                  bility of any securities, or the fluctuation in
           lobe piercing), tattooing and similar services;                                value or price of any stocks, bonds or other
       (9) Services in the practice of pharmacy; and                                      securities.


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       (17) Violation of antitrust laws, state and federal                            v. Fungi Or Bacteria
            laws governing restrictions on trade, unfair                                 (1) “Bodily Injury”, “property damage” or
            competition or deceptive advertising.                                            “personal and advertising injury” which
                                                                                             would not have occurred, in whole or in
   7. Under 1., Applicable To Business Liability                                             part, but for the actual, alleged or threat-
      Coverage, Paragraph r. Criminal Acts is delet-                                         ened inhalation of, ingestion of, contact
      ed and replaced with the following:                                                    with, exposure to, existence of, or pres-
                                                                                             ence of, any “fungi” or bacteria on or
       r.   Criminal Acts                                                                    within a building or structure, including
            “Bodily injury”, “property damage”, or "per-                                     its contents, regardless of whether any
            sonal and advertising injury" arising out of a                                   other cause, event, material or product
            criminal act committed by or at the direction                                    contributed concurrently or in any se-
            of the insured.                                                                  quence to such injury or damage.
                                                                                         (2) Any loss, cost or expenses arising out of
   8. Under 1., Applicable To Business Liability                                             the abating, testing for, monitoring,
      Coverage, Paragraphs t., u. and v. are added                                           cleaning up, removing, containing, treat-
      as follows:                                                                            ing, detoxifying, neutralizing, remediating
                                                                                             or disposing of, or in any way respond-
       t.   Asbestos                                                                         ing to, or assessing the effects of, “fungi”
            (1) “Bodily injury”, “property damage” or                                        or bacteria, by any insured or by any
                “personal and advertising injury” arising                                    other person or entity.
                out of an exposure or threat of exposure
                to the actual or alleged properties of as-
                bestos and includes the mere presence                       Section II – Liability, E. Liability And Medical Ex-
                of asbestos in any form.                                    pense General Conditions is amended as follows:
            (2) Any damages, judgments, settlements,                             1. Under 2., Duties In The Event Of Occurrence,
                loss, costs or expenses that:                                       Offense, Claim Or Suit, Paragraphs e. and f.
                (a) May be awarded or incurred by rea-                              are added as follows:
                     son of any claim or “suit” alleging ac-
                     tual or threatened injury or damage                              e. If we cover a claim or “suit” under this cov-
                     of any nature or kind to persons or                                 erage that may also be covered by other in-
                     property which would not have oc-                                   surance available to an additional insured,
                     curred in whole or in part but for the                              such insurance if any, shall be primary, and
                     presence of asbestos;                                               such additional insured must submit such
                (b) Arise out of any request, demand,                                    claim or suit to the other insurer for defense
                     order to statutory or regulatory re-                                and indemnity.
                     quirement that any insured or others                             f. Paragraphs a. and b. apply to you or to any
                     test for, monitor, clean up, remove,                                additional insured only when such “occur-
                     encapsulate, contain, treat, detoxify                               rence,” offense, claim or suit is known to you
                     or neutralize or in any way respond                                 or any additional insured or your or any addi-
                     to or assess the effects of an asbes-                               tional insured’s partner, limited liability com-
                     tos presence; or                                                    pany manager, executive officer, trustee or
                (c) Arise out of any claim or suit for                                   political official if you or any additional in-
                     damages because of testing for,                                     sured is a political subdivision or agency.
                     monitoring, cleaning up, removing,                                  This Paragraph f. applies separately to you
                     encapsulating, containing, treating,                                and any additional insured.
                     detoxifying or neutralizing or in any
                     way responding to or assessing the                          2. Paragraph 5. Representations is added as fol-
                     effect of an asbestos presence.                                lows:
                                                                                      5. Representations
       u.   Nuclear Hazard
                                                                                         When You Accept This Policy
            Nuclear reaction or radiation, or radioactive
                                                                                         By accepting this policy, you agree:
            contamination, however caused. But if nu-
                                                                                         a. The statements in the Declaration are
            clear reaction or radiation, or radioactive
            contamination, results in fire, we will pay for                                  accurate and complete;
            the loss or damage caused by that fire.                                      b. Those statements are based upon rep-
                                                                                             resentations you made to us; and



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           c. We have issued this policy in reliance
              upon your representations.

Section II – Liability, F. Liability And Medical Ex-
pense Definitions is amended as below:
   1. Paragraph 23. is added as below:
       23. “Fungi” means any type or form of fungus in-
           cluding mold or mildew and any mycotoxins,
           spores, scents, or by-products produced or
           released by fungi.




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                                                                                                  AmGUARD/Baths Certified Policy 017
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                                                                                                  BUSINESSOWNERS
                                                                                                      BP 01 18 11 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                         TEXAS CHANGES
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM


A. Section I – Property is amended as follows:                            (2) We will still retain our right to deny
   1. Paragraph B. Exclusions is amended as                                   the claim.
      follows:                                                   3. Paragraph E.3. Duties In The Event Of Loss
      a. Paragraph     2.l.(4)   is   replaced   by    the          Or Damage Property Loss Condition is
         following:                                                 amended as follows:
         (4) Settling, cracking, shrinking, expansion               a. Paragraph     a.(2)   is    replaced   by   the
             or contraction;                                           following:
      b. The following is added to Paragraph 2.l.                      (2) Give us prompt notice of the loss or
         Other Types Of Loss:                                              damage. Include a description of the
                                                                           property involved. However, with
         (8) Release, discharge or dispersal of                            respect to loss or damage in the state of
             contaminants or pollutants.                                   Texas caused by windstorm or hail in
   2. Paragraph E.2. Appraisal Property               Loss                 the catastrophe area as defined by the
      Condition is replaced by the following:                              Texas Insurance Code, any claim must
                                                                           be filed with us not later than one year
      2. Appraisal
                                                                           after the date of the loss or damage that
          a. If we and you disagree on the amount of                       is the subject of the claim, except that a
             loss, either may make written demand                          claim may be filed after the first
             for an appraisal of the loss. In this event,                  anniversary of the date of the loss or
             each party will select a competent and                        damage for good cause shown by the
             impartial appraiser and notify the other                      person filing the claim.
             of the appraiser selected within 20 days
             of such demand. The two appraisers will                b. Paragraph     a.(7)   is    replaced   by   the
                                                                       following:
             select an umpire. If they cannot agree
             within 15 days upon such umpire, either                   (7) Send us a signed, sworn proof of loss
             may request that selection be made by                         containing the information we request to
             a judge of a court having jurisdiction.                       investigate the claim. You must do this
             Each appraiser will state separately the                      within 91 days after our request. We will
             amount of loss. If they fail to agree, they                   supply you with the necessary forms.
             will submit their differences to the                4. Paragraph E.4. Legal Action Against Us
             umpire. A decision agreed to by any two                Property Loss Condition is replaced by the
             will be binding as to the amount of loss.              following, except as provided in 7. below:
             Each party will:
                                                                    4. Legal Action Against Us
            (1) Pay its chosen appraiser; and
                                                                        a. Except as provided in Paragraph b., no
            (2) Bear the other expenses of the                             one may bring a legal action against us
                appraisal and umpire equally.                              under this insurance unless:
         b. If there is an appraisal:                                     (1) There has been full compliance with
            (1) You will retain your right to bring a                         all of the terms of this insurance; and
                legal action against us, subject to the                   (2) The action is brought within two
                provisions of Paragraph E.4. Legal                            years and one day from the date the
                Action Against Us Property Loss                               cause of action first accrues. A
                Condition; and                                                cause of action accrues on the date
                                                                              of the initial breach of our contractual
                                                                              duties as alleged in the action.



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         b. With respect to loss or damage in the                   c. Under Paragraph E.5. Loss Payment, the
            state of Texas caused by windstorm or                      provisions pertaining to notice of our
            hail in the catastrophe area as defined                    intentions and the time period for payment
            by the Texas Insurance Code, no one                        of claims are replaced by the following:
            may bring a legal action against us                        (1) Claims Handling
            under this insurance, unless:
                                                                          (a) Within 15 days after we receive
              (1) There has been full compliance with                         written notice of claim, we will:
                  all of the terms of this insurance; and
                                                                              (i) Acknowledge receipt of the claim.
              (2) The action is brought within the                                If we do not acknowledge receipt
                  earlier of the following:                                       of the claim in writing, we will
                 (a) Two years and one day from the                               keep a record of the date,
                     date we accept or reject the                                 method and content of the
                     claim; or                                                    acknowledgment;
                 (b) Three years and one day from                             (ii) Begin any investigation of the
                     the date of the loss or damage                                claim; and
                     that is the subject of the claim.                       (iii) Request a signed, sworn proof of
         This Paragraph 4. does not apply to                                       loss, specify the information you
         Paragraph E.4. Legal Action Against Us                                    must provide and supply you with
         Liability And Medical Expenses General                                    the necessary forms. We may
         Condition in Section II – Liability.                                      request more information at a
   5. Paragraph E.5. Loss Payment Property Loss                                    later   date,    if   during  the
      Condition is amended as follows:                                             investigation of the claim such
                                                                                   additional      information     is
      a. Paragraph 5.d.(1)(b) is replaced by the                                   necessary.
         following:
                                                                          (b) We will notify you in writing as to
              (b) If, at the time of the loss, the Limit of                   whether:
                  Insurance applicable to the lost or
                  damaged property is less than 80%                           (i) The claim or part of the claim will
                  of the full replacement cost of the                             be paid;
                  property immediately before the loss,                       (ii) The claim or part of the claim has
                  we will pay the greater of the                                   been denied, and inform you of
                  following amounts, but not more than                             the reasons for denial;
                  the Limit of Insurance that applies to                     (iii) More information is necessary; or
                  the property:
                                                                             (iv) We need additional time to reach
                  (i) The actual cash value of the lost                           a decision. If we need additional
                      or damaged property; or                                     time, we will inform you of the
                 (ii) A proportion of the cost to repair                          reasons for such need.
                      or replace the lost or damaged                          We will provide notification, as
                      property, after application of the                      described in (b)(i) through (b)(iv)
                      deductible and without deduction                        above within:
                      for depreciation. This proportion
                      will equal the ratio of the                             (i) 15 business days after we
                      applicable Limit of Insurance to                            receive the signed, sworn proof
                      80% of the full replacement cost                            of loss and all information we
                      of the property immediately                                 requested; or
                      before the loss.                                        (ii) 30 days after we receive the
      b. The following is added:                                                   signed, sworn proof of loss and
                                                                                   all information we requested, if
         Section 862.053. Policy A Liquidated                                      we have reason to believe the
         Demand                                                                    loss resulted from arson.
         A fire insurance policy, in case of total loss                           If we notified you that we need
         by fire of property insured, shall be held and                           additional time to reach a
         considered to be a liquidated demand                                     decision, we must then either
         against the company for the full amount of                               approve or deny the claim within
         such policy. The provisions of this Article                              45 days of such notice.
         shall not apply to personal property.




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        (2) We will pay for covered loss or damage           7. Paragraphs F.2.d. and F.2.f. of the
            within five business days after:                    Mortgageholders Property General Condition
           (a) We have notified you that payment                are replaced by the following:
               of the claim or part of the claim will           d. If we deny your claim because of your acts
               be made and have reached                            or because you have failed to comply with
               agreement with you on the amount                    the terms of this policy, the mortgageholder
               of loss; or                                         will still have the right to receive loss
           (b) An appraisal award has been made.                   payment if the mortgageholder:
            However, if payment of the claim or part               (1) Pays any premium due under this policy
            of the claim is conditioned on your                        at our request if you have failed to do
            compliance with any terms of this policy,                  so;
            we will make payment within five                       (2) Submits a signed, sworn proof of loss
            business days after the date you have                      within 91 days after receiving notice
            complied with such terms.                                  from us of your failure to do so; and
        (3) Catastrophe Claims                                     (3) Has notified us of any change in
            If a claim results from a weather-related                  ownership, occupancy or substantial
            catastrophe or a major natural disaster,                   change in risk known to the
            the claim handling and claim payment                       mortgageholder.
            deadlines described in c.(1) and c.(2)                  All of the terms of this policy will then apply
            above are extended for an additional 15                 directly to the mortgageholder.
            days.                                                f. If this policy is cancelled, we will give the
            Catastrophe or Major Natural Disaster                   mortgageholder named in the Declarations
            means a weather-related event which:                    written notice of cancellation.
           (a) Is declared a disaster under the                     If we cancel this policy, we will notify the
               Texas Disaster Act of 1975; or                       mortgageholder at least:
           (b) Is determined to be a catastrophe by                (1) 14 days before the effective date of
               the State Board of Insurance.                           cancellation if we cancel for your
        (4) The term "business day", as used in the                    nonpayment of premium; or
            Loss Payment Property Loss Condition,                  (2) 30 days before the effective date of
            means a day other than Saturday,                           cancellation if we cancel for any other
            Sunday or a holiday recognized by the                      reason.
            state of Texas.                                         If you cancel the policy, we will give the
   6. The following is added to Paragraph F.                        mortgageholder notice of cancellation to be
      Property General Conditions:                                  effective on the date stated in the notice.
      5. Loss To Real Property                                      The date of cancellation cannot be before
                                                                    the 10th day after the date we mail the
         The amount of insurance applicable to loss                 notice.
         to real property by fire will be reduced by
         the amount of such loss. As repairs are             8. Paragraph H. Property            Definitions     is
         made, the amount reduced will be                       amended as follows:
         reinstated to the extent of the value of the           Paragraph 9.b. is replaced by the following:
         repairs. The reinstatement will not increase           b. "Period of restoration" does not include any
         the specified Limits of Insurance.                        increased period required due to the
         No other loss insured against in Section I –              enforcement of any ordinance or law that
         Property will reduce the specified Limits of              regulates the construction, use or repair, or
         Insurance.                                                requires the tearing down of any property.
                                                                    The expiration date of this policy will not cut
                                                                    short the "period of restoration".




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                                                                                 AmGUARD/Baths Certified Policy 020
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B. Section II – Liability is amended as follows:                          (2) If this policy has been in effect for
   1. The following is added to Paragraph E.2.                                more than 60 days, or if it is a
      Duties In The Event Of Occurrence,                                      renewal or continuation of a policy
      Offense, Claim Or Suit Liability And Medical                            issued by us, we may cancel only for
      Expenses General Condition and similar                                  one or more of the following reasons:
      conditions in any endorsement attached to this                          (a) Fraud in obtaining coverage;
      policy:                                                                 (b) Failure to pay premiums when
      We will notify the first Named Insured in writing                           due;
      of:                                                                     (c) An increase in hazard within the
      a. An initial offer to settle a claim made or                               control of the insured which
         "suit" brought against the insured under this                            would produce an increase in
         coverage. The notice will be given not later                             rate;
         than the 10th day after the date on which                            (d) Loss of our reinsurance covering
         the offer is made.                                                       all or part of the risk covered by
      b. Any settlement of a claim made or "suit"                                 the policy; or
         brought against the insured under this                               (e) If we have been placed in
         coverage. The notice will be given not later                             supervision, conservatorship or
         than the 30th day after the date of the                                  receivership and the cancellation
         settlement.                                                              is approved or directed by the
   2. The following provision applies:                                            supervisor,    conservator     or
      With regard to liability for "bodily injury",                               receiver.
      "property damage" and "personal and                               c. For the following reasons, if this policy
      advertising injury", unless we are prejudiced by                     provides coverage to a governmental
      the insured's or your failure to comply with the                     unit, as defined under 28 TEX. ADMIN.
      requirement, no provision of this policy                             CODE, Section 5.7001 or on one- and
      requiring you or any insured to give notice of                       two-family dwellings:
      "occurrence", claim or "suit" or to forward                         (1) If this policy has been in effect for
      demands, notices, summonses or legal papers                             less than 90 days, we may cancel
      in connection with a claim or "suit" will bar                           this policy for any reason.
      coverage under this policy.
                                                                          (2) If this policy has been in effect for 90
C. Section III – Common Policy Conditions is                                  days or more, or if it is a renewal or
   amended as follows:                                                        continuation of a policy issued by us,
   1. Paragraph A.2. Cancellation is replaced by                              we may cancel this policy only for
      the following:                                                          the following reasons:
      2. We may cancel this policy:                                           (a) If the first Named Insured does
          a. By mailing or delivering to the first                                not pay the premium or any
             Named Insured written notice of                                      portion of the premium when due;
             cancellation, stating the reason for                             (b) If the Texas Department of
             cancellation, at least 10 days before the                            Insurance      determines    that
             effective date of cancellation.                                      continuation of this policy would
          b. For the following reasons, if this policy                            result in violation of the Texas
             does not provide coverage to a                                       Insurance Code or any other law
             governmental unit, as defined under 28                               governing the business of
             TEX. ADMIN. CODE, Section 5.7001 or                                  insurance in Texas;
             on one- and two-family dwellings:                                (c) If the Named Insured submits a
              (1) If this policy has been in effect for 60                        fraudulent claim; or
                  days or less, we may cancel for any                         (d) If there is an increase in the
                  reason except that, under the                                   hazard within the control of the
                  provisions of the Texas Insurance                               Named Insured which would
                  Code, we may not cancel this policy                             produce an increase in rate.
                  solely because the policyholder is an
                  elected official; or




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                                                                                    AmGUARD/Baths Certified Policy 021
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   2. The following paragraph is added             and               3. If notice is mailed, proof of mailing will
      supersedes any provision to the contrary:                         be sufficient proof of notice.
     M. Nonrenewal                                                   4. The transfer of a policyholder between
         1. We may elect not to renew this policy                       admitted companies within the same
            except that, under the provisions of the                    insurance group is not considered a
            Texas Insurance Code, we may not                            refusal to renew.
            refuse to renew this policy solely                3. Paragraph I.3. Premiums does not apply.
            because the policyholder is an elected
            official.
         2. If we elect not to renew this policy, we
            may do so by mailing or delivering to the
            first Named Insured, at the last mailing
            address known to us, written notice of
            nonrenewal, stating the reason for
            nonrenewal, at least 60 days before the
            expiration date. If notice is mailed or
            delivered less than 60 days before the
            expiration date, this policy will remain in
            effect until the 61st day after the date on
            which the notice is mailed or delivered.
            Earned premium for any period of
            coverage that extends beyond the
            expiration date will be computed pro
            rata based on the previous year's
            premium.




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                                                                                  AmGUARD/Baths Certified Policy 022
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POLICY NUMBER:                                                                             BUSINESSOWNERS
                                                                                               BP 02 04 01 06

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    TEXAS CHANGES – AMENDMENT OF CANCELLATION
          PROVISIONS OR COVERAGE CHANGE
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM


In the event of cancellation or material change that reduces or restricts the insurance afforded by this Policy, we
agree to mail prior written notice of cancellation or material change to:

                                                   SCHEDULE

A. Name: Baths of America, Inc



B. Address: 4230 Richmond Ave, Houston, TX 77027-6839



C. Number Of Days Advance Notice: 10 days’ notice for cancellations; 30 days’ notice for reduction or restric-
   tion in coverage on renewal



 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.




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                                                                                   AmGUARD/Baths Certified Policy 023
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                                                                                                        TEXAS
                                                                                                 POLICYHOLDER
                                                                                                       NOTICE



                                  IMPORTANT NOTICE
To obtain information or make a complaint:
You may contact your agent, SECURED RISK INSURANCE GROUP at 713-782-5149.
You may also call our toll-free telephone number at:

                                            1-800-673-2465.
You may write to:
                          Berkshire Hathaway GUARD Insurance Companies
                                       Attn: Customer Service
                                            P.O. Box A-H
                                    Wilkes-Barre, PA 18703-0020

You may also contact the Texas Department of Insurance to obtain information on companies,
coverages, rights, or complaints at:

                                            1-800-252-3439.
You may write to the Texas Department of Insurance at:
                                               P.O. Box 149104
                                             Austin, TX 78714-9104

or correspond via fax at 512-475-1771 or e-mail to ConsumerProtection@tdi.state.tx.us or visit the
Department’s web site at www.tdi.state.tx.us.



PREMIUM OR CLAIM DISPUTES:
If you have a dispute about your premium or your claims, you should contact your agent and
company. If the dispute is not resolved, you may contact the Texas Department of Insurance.



                        ATTACH THIS NOTICE TO YOUR POLICY
This notice is for informational purposes only and does not become a part or condition of the attached
document.


PN TX 01 01 15      16 South River Street • P.O. Box A-H • Wilkes-Barre, PA 18703-0020 • www.guard.com   Page 1 of 1



                                                                                     AmGUARD/Baths Certified Policy 024
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                                                                                                          TEXAS
                                                                                                   POLICYHOLDER
                                                                                                         NOTICE



  Notice to Policyholders regarding Asbestos Exclusion
This Notice has been prepared to inform you that your policy includes an Asbestos Exclusion (BP
99 TX – Policy Customizations). The purpose of this Notice is to clarify the intent of coverage
provided by your policy. Specifically, this insurance contains the following exclusions –

Section I – Property, B. Exclusions 2. is amended as follows:
    1. Paragraph q. Asbestos is added:
        q.   Asbestos
             Any loss, damage or expense which would not have occurred in whole or in part but for the presence of
             asbestos.


Section II – Liability, B. Exclusions is amended as follows:
    1. Under 1., Applicable To Business Liability Coverage, Paragraph t. is added as follows:
       t. Asbestos
          (1) “Bodily injury”, “property damage” or “personal and advertising injury” arising out of an exposure or
              threat of exposure to the actual or alleged properties of asbestos and includes the mere presence of
              asbestos in any form.
          (2) Any damages, judgments, settlements, loss, costs or expenses that:
              (a) May be awarded or incurred by reason of any claim or “suit” alleging actual or threatened injury or
                   damage of any nature or kind to persons or property which would not have occurred in whole or in
                   part but for the presence of asbestos;
              (b) Arise out of any request, demand, order to statutory or regulatory requirement that any insured or
                   others test for, monitor, clean up, remove, encapsulate, contain, treat, detoxify or neutralize or in
                   any way respond to or assess the effects of an asbestos presence; or
              (c) Arise out of any claim or suit for damages because of testing for, monitoring, cleaning up, removing,
                   encapsulating, containing, treating, detoxifying or neutralizing or in any way responding to or
                   assessing the effect of an asbestos presence.


This summary is provided for informational purposes only and its contents are not intended to
amend, alter or change any of the terms or conditions of the policy. It is not a substitute for
reviewing the actual forms and endorsements contained in your policy. Please read your
policy to better understand the terms and conditions of your coverage.


If you have any questions or need additional information, please contact your agent.



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                                                                                        AmGUARD/Baths Certified Policy 025
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POLICY NUMBER: BABP700014                                                                   BUSINESSOWNERS
                                                                                                BP 03 12 01 06

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     WINDSTORM OR HAIL PERCENTAGE DEDUCTIBLES
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

                                                   SCHEDULE

         Premises Number                   Windstorm Or Hail Deductible Percentage (Enter 1%, 2% Or 5%)
Location 001, Building 001                                                                      2%

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.




The following provisions apply to Section I – Proper-       3. Personal property at each building, if personal
ty:                                                            property at two or more buildings sustains loss or
The Windstorm or Hail Deductible, as shown in the              damage; and
Schedule, applies to loss or damage to Covered              4. Personal property in the open.
Property caused directly or indirectly by Windstorm or      We will not pay for loss or damage until the amount of
Hail, regardless of any other cause or event that con-      loss or damage exceeds the Deductible. We will then
tributes concurrently or in any sequence to the loss or     pay the amount of loss or damage in excess of the
damage. If loss or damage from a covered weather            Deductible, up to the applicable Limit(s) of Insurance.
condition other than Windstorm or Hail occurs, and
that loss or damage would not have occurred but for         When property is covered under the Coverage Exten-
Windstorm or Hail, such loss or damage shall be             sion for Newly Acquired Property: In determining the
considered to be caused by Windstorm or Hail and            amount, if any, that we will pay for loss or damage, we
therefore part of a Windstorm or Hail occurrence.           will deduct an amount equal to a percentage of the
                                                            value(s) of the property at the time of loss. The appli-
With respect to Covered Property at a premises identi-      cable percentage for Newly Acquired Property is the
fied in the Schedule, no other deductible applies to        highest percentage shown in the Schedule for any
Windstorm or Hail.                                          described premises.
The Windstorm or Hail Deductible applies whenever           EXAMPLE – APPLICATION OF DEDUCTIBLE:
there is an occurrence of Windstorm or Hail.
                                                            The amounts of loss to the damaged property are
WINDSTORM OR HAIL DEDUCTIBLE CLAUSE                         $60,000 (building) and $40,000 (business personal
In determining the amount, if any, that we will pay for     property in building).
loss or damage, we will deduct an amount equal to           The actual Limits of Insurance on the damaged prop-
1%, 2% or 5% (as shown in the Schedule) of the              erty are $80,000 on the building and $64,000 on the
Limit(s) of Insurance applicable to the property that       business personal property.
has sustained loss or damage. This Deductible is
calculated separately for, and applies separately to:
1. Each building, if two or more buildings sustain loss     The Deductible is 2%.
   or damage;                                               Building
2. The building and to personal property in that build-     Step (1): $80,000 X 2% = $1,600
   ing, if both sustain loss or damage;                     Step (2): $60,000 – $1,600 = $58,400
                                                            Business Personal Property
                                                            Step (1): $64,000 X 2% = $1,280




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                                                                                    AmGUARD/Baths Certified Policy 026
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Step (2): $40,000 – $1,280 = $38,720
The most we will pay is $97,120 ($58,400 + $38,720).
The portion of the total loss that is not covered due to
the application of the Deductible is $2,880 ($1,600 +
$1,280).




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                                                                           AmGUARD/Baths Certified Policy 027
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POLICY NUMBER: BABP700014                                                                 BUSINESSOWNERS
                                                                                              BP 04 04 01 10

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        HIRED AUTO AND NON-OWNED AUTO LIABILITY
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

                                                   SCHEDULE

                       Coverage                                           Additional Premium

 A. Hired Auto Liability                                    $55.00

 B. Non-owned Auto Liability                                $96.00

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Insurance is provided only for those coverages for                (2) The spouse, child, parent, brother or
   which a specific premium charge is shown in the                       sister of that "employee" as a conse-
   Declarations or in the Schedule.                                      quence of Paragraph (1) above.
   1. Hired Auto Liability                                           This exclusion applies:
      The insurance provided under Paragraph A.1.                    (1) Whether the insured may be liable as an
      Business Liability in Section II – Liability                       employer or in any other capacity; and
      applies to "bodily injury" or "property damage"                (2) To any obligation to share damages with
      arising out of the maintenance or use of a                         or repay someone else who must pay
      "hired auto" by you or your "employees" in the                     damages because of injury.
      course of your business.
                                                                     This exclusion does not apply to:
   2. Non-owned Auto Liability
                                                                     (1) Liability assumed by the insured under
      The insurance provided under Paragraph A.1.                        an "insured contract"; or
      Business Liability in Section II – Liability
      applies to "bodily injury" or "property damage"                (2) "Bodily injury" arising out of and in the
      arising out of the use of any "non-owned auto"                     course of domestic employment by the
      in your business by any person.                                    insured unless benefits for such injury
                                                                         are in whole or in part either payable or
B. For insurance provided by this endorsement only:                      required to be provided under any work-
   1. The exclusions under Paragraph B.1. Appli-                         ers' compensation law.
      cable To Business Liability Coverage in                     b. "Property damage" to:
      Section II – Liability, other than Exclusions a.,
      b., d., f. and i. and the Nuclear Energy Liabil-               (1) Property owned or being transported by,
      ity Exclusion, are deleted and replaced by the                     or rented or loaned to the insured; or
      following:                                                     (2) Property in the care, custody or control
      a. "Bodily injury" to:                                             of the insured.
         (1) An "employee" of the insured arising out
             of and in the course of:
            (a) Employment by the insured; or
            (b) Performing duties related to the
                conduct of the insured's business; or




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                                                                                  AmGUARD/Baths Certified Policy 028
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   2. Paragraph C. Who Is An Insured in Section II                    c. Any person while employed in or other-
      – Liability is replaced by the following:                          wise engaged in duties in connection
      1. Each of the following is an insured under                       with an "auto business", other than an
         this endorsement to the extent set forth be-                    "auto business" you operate;
         low:                                                         d. The owner or lessee (of whom you are a
         a. You;                                                         sublessee) of a "hired auto" or the
                                                                         owner of a "non-owned auto" or any
         b. Any other person using a "hired auto"                        agent or "employee" of any such owner
            with your permission;                                        or lessee; or
         c. For a "non-owned auto":                                   e. Any person or organization for the con-
              (1) Any partner or "executive officer" of                  duct of any current or past partnership
                  yours; or                                              or joint venture that is not shown as a
                                                                         Named Insured in the Declarations.
              (2) Any "employee" of yours;
                                                            C. For the purposes of this endorsement only, Para-
              but only while such "non-owned auto" is
                                                               graph H. Other Insurance in Section III – Com-
              being used in your business; and
                                                               mon Policy Conditions is replaced by the follow-
         d. Any other person or organization, but              ing:
            only for their liability because of acts or
            omissions of an insured under a., b. or            This insurance is excess over any primary insur-
                                                               ance covering the "hired auto" or "non-owned
            c. above.
                                                               auto".
      2. None of the following is an insured:
                                                            D. The following additional definitions apply:
         a. Any person engaged in the business of
            his or her employer for "bodily injury" to         1. "Auto business" means the business or occu-
            any co-"employee" of such person in-                  pation of selling, repairing, servicing, storing or
                                                                  parking "autos".
            jured in the course of employment, or to
            the spouse, child, parent, brother or sis-         2. "Hired auto" means any "auto" you lease, hire,
            ter of that co-"employee" as a conse-                 rent or borrow. This does not include any
            quence of such "bodily injury", or for any            "auto" you lease, hire, rent or borrow from any
            obligation to share damages with or re-               of your "employees", your partners or your "ex-
            pay someone else who must pay dam-                    ecutive officers" or members of their house-
            ages because of the injury;                           holds.
         b. Any partner or "executive officer" for any         3. "Non-owned auto" means any "auto" you do
            "auto" owned by such partner or officer               not own, lease, hire, rent or borrow which is
            or a member of his or her household;                  used in connection with your business. This in-
                                                                  cludes "autos" owned by your "employees",
                                                                  your partners or your "executive officers", or
                                                                  members of their households, but only while
                                                                  used in your business or your personal affairs.




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                                                                                   AmGUARD/Baths Certified Policy 029
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POLICY NUMBER: BABP700014                                                                  BUSINESSOWNERS
                                                                                               BP 04 12 01 06

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             LIMITATION OF COVERAGE TO DESIGNATED
                      PREMISES OR PROJECT
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

                                                     SCHEDULE

A. Premises:
   Per schedule of locations listed on the declarations.

B. Project:



Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


The following is added to Section II – Liability:
This insurance applies only to "bodily injury", "property
damage", "personal and advertising injury" and medi-
cal expenses arising out of:
1. The ownership, maintenance or use of the premis-
   es shown in the Schedule and operations neces-
   sary or incidental to those premises; or
2. The project shown in the Schedule.




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                                                                                  AmGUARD/Baths Certified Policy 030
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                                                                                          BUSINESSOWNERS
                                                                                              BP 04 17 01 10

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM


The following exclusion is added to Paragraph B.1.                  (2) The spouse, child, parent, brother or
Exclusions – Applicable To Business Liability                           sister of that person as a consequence
Coverage in Section II – Liability:                                     of "bodily injury" or "personal and adver-
         This insurance does not apply to "bodily in-                   tising injury" to that person at whom any
         jury" or "personal and advertising injury" to:                 of the employment-related practices de-
                                                                        scribed in Paragraph (a), (b) or (c)
         (1) A person arising out of any:                               above is directed.
            (a) Refusal to employ that person;                       This exclusion applies:
            (b) Termination of that person's em-                    (1) Whether the injury-causing event de-
                ployment; or                                            scribed in Paragraph (a), (b) or (c)
            (c) Employment-related practices, poli-                     above occurs before employment, dur-
                cies, acts or omissions, such as co-                    ing employment or after employment of
                ercion, demotion, evaluation, reas-                     that person;
                signment, discipline, defamation,                   (2) Whether the insured may be liable as an
                harassment, humiliation, discrimina-                    employer or in any other capacity; and
                tion or malicious prosecution di-
                rected at that person; or                           (3) To any obligation to share damages with
                                                                        or repay someone else who must pay
                                                                        damages because of the injury.




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                                                                                 AmGUARD/Baths Certified Policy 031
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POLICY NUMBER: BABP700014                                                                    BUSINESSOWNERS
                                                                                                 BP 04 30 01 06

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              PROTECTIVE SAFEGUARDS
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

                                                      SCHEDULE

  Prem.       Bldg.       Protective Safeguards
   No.         No.         Symbols Applicable                     Description Of "P-9" If Applicable:
   001         001                                     Central Station Burglar Alarm Local Fire Alarm

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.




A. The following is added to the Property General                     (2) Reporting to a public or private fire alarm
   Conditions in Section I – Property:                                    station.
   PROTECTIVE SAFEGUARDS                                            c. "P-3" Security Service, with a recording
   1. As a condition of this insurance, you are re-                    system or watch clock, making hourly
      quired to maintain the protective devices or                     rounds covering the entire building, when
      services listed in the Schedule above.                           the premises are not in actual operation.
   2. The protective safeguards to which this en-                   d. "P-4" Service Contract, with a privately
      dorsement applies are identified by the follow-                  owned fire department providing fire protec-
      ing symbols:                                                     tion service to the described premises.
      a. "P-1" Automatic Sprinkler System, includ-                  e. "P-9", the protective system described in
         ing related supervisory services.                             the Schedule.
          Automatic Sprinkler System means:                  B. The following is added to Paragraph B. Exclu-
                                                                sions in Section I – Property:
          (1) Any automatic fire protective or extin-
              guishing system, including connected:             We will not pay for loss or damages caused by or
                                                                resulting from fire if, prior to the fire, you:
             (a) Sprinklers and discharge nozzles;
                                                                 1. Knew of any suspension or impairment in any
             (b) Ducts, pipes, valves and fittings;                 protective safeguard listed in the Schedule
             (c) Tanks, their component parts and                   above and failed to notify us of that fact; or
                 supports; and                                   2. Failed to maintain any protective safeguard
             (d) Pumps and private fire protection                  listed in the Schedule above, and over which
                 mains.                                             you had control, in complete working order.
          (2) When supplied from an automatic fire              If part of an Automatic Sprinkler System is shut off
              protective system:                                due to breakage, leakage, freezing conditions or
             (a) Non-automatic fire protective sys-             opening of sprinkler heads, notification to us will
                 tems; and                                      not be necessary if you can restore full protection
                                                                within 48 hours.
             (b) Hydrants, standpipes and outlets.
      b. "P-2" Automatic Fire Alarm, protecting the
         entire building, that is:
          (1) Connected to a central station; or




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                                                                                    AmGUARD/Baths Certified Policy 032
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                                                                                           BUSINESSOWNERS
                                                                                               BP 05 01 07 02

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            CALCULATION OF PREMIUM
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM


The following is added:
The premium shown in the Declarations was computed based on rates in effect at the time the policy was issued.
On each renewal, continuation, or anniversary of the effective date of this policy, we will compute the premium in
accordance with our rates and rules then in effect.




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                                                                                  AmGUARD/Baths Certified Policy 033
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                                                                                             BUSINESSOWNERS
                                                                                                 BP 05 24 01 15

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EXCLUSION OF CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:


   BUSINESSOWNERS COVERAGE FORM

                                                    SCHEDULE

The Exception Covering Certain Fire Losses (Paragraph B.2.) applies to property located in the following
state(s):




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. The following provisions are added to the                   2. The terms and limitations of any terrorism
   Businessowners Policy and apply to Property and                exclusion, or the inapplicability or omission of a
   Liability Coverages:                                           terrorism exclusion, do not serve to create
   1. The following definition is added with respect to           coverage for loss or injury or damage that is
      the provisions of this endorsement:                         otherwise excluded under this Policy.
      "Certified act of terrorism" means an act that is     B. The following provisions are added to
      certified by the Secretary of the Treasury, in           Businessowners Standard Property Coverage
      accordance with the provisions of the federal            Form BP 00 01, Businessowners Special Property
      Terrorism Risk Insurance Act, to be an act of            Coverage Form BP 00 02 or Section I – Property
      terrorism pursuant to such Act. The criteria             of Businessowners Coverage Form BP 00 03:
      contained in the Terrorism Risk Insurance Act            1. The following exclusion is added:
      for a "certified act of terrorism" include the              CERTIFIED ACT OF TERRORISM
      following:                                                  EXCLUSION
      a. The act resulted in insured losses in excess             We will not pay for loss or damage caused
         of $5 million in the aggregate, attributable to          directly or indirectly by a "certified act of
         all types of insurance subject to the                    terrorism". Such loss or damage is excluded
         Terrorism Risk Insurance Act; and                        regardless of any other cause or event that
      b. The act is a violent act or an act that is               contributes concurrently or in any sequence to
         dangerous to human life, property or                     the loss.
         infrastructure and is committed by an
         individual or individuals as part of an effort
         to coerce the civilian population of the
         United States or to influence the policy or
         affect the conduct of the United States
         Government by coercion.




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   2. Exception Covering Certain Fire Losses                  C. The following provision is added to the
      The following exception to the exclusion in                Businessowners   Liability  Coverage   Form
      Paragraph B.1. applies only if indicated and as            BP 00 06 or Section II – Liability of the
      indicated in the Schedule of this endorsement.             Businessowners Coverage Form BP 00 03:
      If a "certified act of terrorism" results in fire, we      1. The following exclusion is added:
      will pay for the loss or damage caused by that                This insurance does not apply to:
      fire. Such coverage for fire applies only to                  TERRORISM
      direct loss or damage by fire to Covered
      Property. Therefore, for example, the coverage                "Any injury or damage" arising, directly or
      does not apply to insurance provided under                    indirectly, out of a "certified act of terrorism".
      Business Income and/or Extra Expense                       2. The following definition is added:
      Additional Coverages.
                                                                    For the purposes of this endorsement, "any
      If aggregate insured losses attributable to                   injury or damage" means any injury or damage
      terrorist acts certified under the Terrorism Risk             covered under any Coverage Form to which
      Insurance Act exceed $100 billion in a calendar               this endorsement is applicable, and includes
      year and we have met our insurer deductible                   but is not limited to "bodily injury", "property
      under the Terrorism Risk Insurance Act, we                    damage" or "personal and advertising injury"
      shall not be liable for the payment of any                    as may be defined in any applicable Coverage
      portion of the amount of such losses that                     Form.
      exceeds $100 billion, and in such case insured
      losses up to that amount are subject to pro rata
      allocation in accordance with procedures
      established by the Secretary of the Treasury.




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                                                                                                 BUSINESSOWNERS
                                                                                                     BP 05 41 01 15

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

   EXCLUSION OF CERTIFIED ACTS OF TERRORISM AND
      EXCLUSION OF OTHER ACTS OF TERRORISM
       COMMITTED OUTSIDE THE UNITED STATES
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

The following provisions are added to the                             b. Protracted        and     obvious       physical
Businessowners Liability Coverage Form BP 00 06                           disfigurement; or
and Section II – Liability of the Businessowners                      c. Protracted loss of or impairment of the
Coverage Form BP 00 03:                                                   function of a bodily member or organ; or
A. The following exclusion is added:                              3. The terrorism involves the use, release or
   This insurance does not apply to:                                  escape of nuclear materials, or directly or
   TERRORISM                                                          indirectly results in nuclear reaction or radiation
                                                                      or radioactive contamination; or
   "Any injury or damage" arising directly or
   indirectly, out of a "certified act of terrorism", or out      4. The terrorism is carried out by means of the
   of an "other act of terrorism" that is committed                   dispersal or application of pathogenic or
   outside of the United States (including its                        poisonous biological or chemical materials; or
   territories and possessions and Puerto Rico), but              5. Pathogenic or poisonous biological or chemical
   within the "coverage territory". However, with                     materials are released, and it appears that one
   respect to an "other act of terrorism", this                       purpose of the terrorism was to release such
   exclusion applies only when one or more of the                     materials.
   following are attributed to such act:                          With respect to this exclusion, Paragraphs 1. and
   1. The total of insured damage to all types of                 2. describe the thresholds used to measure the
       property exceeds $25,000,000 (valued in U.S.               magnitude of an incident of an "other act of
       dollars).    In    determining       whether      the      terrorism" and the circumstances in which the
       $25,000,000 threshold is exceeded, we will                 threshold will apply for the purpose of determining
       include all insured damage sustained by                    whether this exclusion will apply to that incident.
       property of all persons and entities affected by        B. The following definitions are added:
       the terrorism and business interruption losses
       sustained by owners or occupants of the                    1. For the purposes of this endorsement, "any
       damaged property. For the purpose of this                     injury or damage" means any injury or damage
       provision, insured damage means damage that                   covered under any Coverage Form to which
       is covered by any insurance plus damage that                  this endorsement is applicable, and includes
       would be covered by any insurance but for the                 but is not limited to "bodily injury", "property
       application of any terrorism exclusions; or                   damage" or "personal and advertising injury"
                                                                     as may be defined in any applicable Coverage
   2. Fifty or more persons sustain death or serious                 Form.
       physical injury. For the purposes of this
       provision, serious physical injury means:
       a. Physical injury that involves a substantial
           risk of death; or




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   2. "Certified act of terrorism" means an act that is                  (b) The premises of any United States
      certified by the Secretary of the Treasury, in                         mission; and
      accordance with the provisions of the federal                c. The act is a violent act or an act that is
      Terrorism Risk Insurance Act, to be an act of                    dangerous to human life, property or
      terrorism pursuant to such Act. The criteria                     infrastructure and is committed by an
      contained in the Terrorism Risk Insurance Act                    individual or individuals as part of an effort
      for a "certified act of terrorism" include the                   to coerce the civilian population of the
      following:                                                       United States or to influence the policy or
      a. The act resulted in insured losses in excess                  affect the conduct of the United States
         of $5 million in the aggregate, attributable to               Government by coercion.
         all types of insurance subject to the                 3. "Other act of terrorism" means a violent act or
         Terrorism Risk Insurance Act;                             an act that is dangerous to human life, property
      b. The act resulted in damage:                               or infrastructure that is committed by an
        (1) Within the United States (including its                individual or individuals and that appears to be
            territories and possessions and Puerto                 part of an effort to coerce a civilian population
            Rico); or                                              or to influence the policy or affect the conduct
                                                                   of any government by coercion, and the act is
         (2) Outside of the United States in the case              not a "certified act of terrorism".
             of:
                                                                   Multiple incidents of an "other act of terrorism"
            (a) An air carrier (as defined in Section              which occur within a seventy-two hour period
                 40102 of title 49, United States                  and appear to be carried out in concert or to
                 Code) or United States flag vessel                have a related purpose or common leadership
                 (or a vessel based principally in the             shall be considered to be one incident.
                 United States, on which United
                 States income tax is paid and whose        C. The terms and limitations of any terrorism
                 insurance coverage is subject to              exclusion, or the inapplicability or omission of a
                 regulation in the United States),             terrorism exclusion, do not serve to create
                 regardless of where the loss occurs;          coverage for injury or damage that is otherwise
                 or                                            excluded under this Policy.




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                                                                                              BUSINESSOWNERS
                                                                                                  BP 05 42 01 15

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     EXCLUSION OF PUNITIVE DAMAGES RELATED TO A
             CERTIFIED ACT OF TERRORISM
This endorsement modifies insurance provided under the following:


   BUSINESSOWNERS COVERAGE FORM


The following provisions are added to the                        2. The act is a violent act or an act that is
Businessowners Liability Coverage Form BP 00 06                     dangerous to human life, property or
and Section II – Liability of the Businessowners                    infrastructure and is committed by an individual
Coverage Form BP 00 03:                                             or individuals as part of an effort to coerce the
A. The following exclusion is added:                                civilian population of the United States or to
                                                                    influence the policy or affect the conduct of the
   This insurance does not apply to:                                United States Government by coercion.
   TERRORISM PUNITIVE DAMAGES                                 C. The terms and limitations of any terrorism
   Damages arising, directly or indirectly, out of a             exclusion, or the inapplicability or omission of a
   "certified act of terrorism" that are awarded as              terrorism exclusion, do not serve to create
   punitive damages.                                             coverage for injury or damage that is otherwise
                                                                 excluded under this Policy.
B. The following definition is added:
   "Certified act of terrorism" means an act that is
   certified by the Secretary of the Treasury, in
   accordance with the provisions of the federal
   Terrorism Risk Insurance Act, to be an act of
   terrorism pursuant to such Act. The criteria
   contained in the Terrorism Risk Insurance Act for
   a "certified act of terrorism" include the following:
   1. The act resulted in insured losses in excess of
      $5 million in the aggregate, attributable to all
      types of insurance subject to the Terrorism
      Risk Insurance Act; and




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POLICY NUMBER: BABP700014                                                                   BUSINESSOWNERS
                                                                                                BP 07 04 01 06

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 BUSINESS LIABILITY COVERAGE – PROPERTY DAMAGE
   LIABILITY DEDUCTIBLE (PER OCCURRENCE BASIS)
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

                                                   SCHEDULE


    Amount Of Per Occurrence Deductible:                $1,000.00

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Our obligation under Paragraph A. Coverages in              2. Your duties in the event of an "occurrence",
   Section II – Liability to pay damages on your be-              claim, or "suit";
   half because of "property damage" applies only to           apply irrespective of the application of the deducti-
   the amount of damages in excess of the deducti-             ble amount.
   ble amount shown in the Schedule.
                                                            D. We may pay any part or all of the deductible
B. The deductible amount shown in the Schedule                 amount to effect settlement of any claim or "suit"
   applies to the total of all damages because of              and, upon notification of the action taken, you shall
   "property damage" as the result of any one "occur-          promptly reimburse us for such part of the deducti-
   rence", regardless of the number of persons or or-          ble amount as has been paid by us.
   ganizations who sustain "property damage" be-
   cause of that "occurrence".
C. The terms of this insurance, including those with
   respect to:
   1. Our right and duty to defend the insured
      against any "suits" seeking those damages;
      and




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                                                                                                                  BUSINESSOWNER’S
                                                                                                                       BP 99 25 01 10



         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                 RETAIL STORES
    This endorsement modifies insurance provided under the following:

       BUSINESSOWNER’S COVERAGE FORM


A. The following are added to Paragraph A.5. Additional                           (2) This Additional Coverage applies subject to the
   Coverages of Section I – Property:                                                 following conditions:
   a. Reward Payment                                                                  (a) An eligible person means that person
     (1) We will reimburse you for rewards paid as                                        designated by a law enforcement agency as
         follows:                                                                         being the first to voluntarily provide the
                                                                                          information leading to the arrest and
         (a) Up to $5,000 to an eligible person for                                       conviction or return of the stolen Covered
             information leading to the arrest and                                        Property, and who is not:
             conviction of any person or persons
             committing a crime resulting in loss of or                                    (i) You or any family member;
             damage to Covered Property from a                                            (ii) Your employee or any of his or her family
             Covered Cause of Loss. However, we will                                           members;
             pay no more than the lesser of the following                                (iii) An employee of a law enforcement
             amounts:                                                                          agency;
             (i) Actual cash value of the Covered                                        (iv) An employee of a business engaged in
                 Property at the time of loss or damage,                                      property protection;
                 but not more than the amount required to
                 repair or replace it; or                                                 (v) Any person who had custody of the
                                                                                              Covered Property at the time the theft
            (ii) The amount determined by the loss                                            was committed; or
                 settlement procedure applicable to the
                 Covered Property under the Loss                                         (vi) Any person involved in the crime.
                 Payment Condition.                                                   (b) No reward will be reimbursed unless and
         (b) Up to $5,000 to an eligible person for the                                   until the person(s) committing the crime is
             return of stolen Covered Property, when the                                  (are) convicted or the Covered Property is
             loss is caused by theft. However, we will pay                                returned.
             no more than the lesser of the following                                 (c) The lesser of the amount of the reward or
             amounts:                                                                     $5,000 is the most we will reimburse for loss
             (i) Actual cash value based on the condition                                 under this Additional Coverage in any one
                 of the Covered Property at the time it is                                occurrence.
                 returned, but not more than the amount                       b. Brands And Labels
                 required to repair or replace it; or
                                                                                  (1) If branded or labeled merchandise that is
            (ii) The amount determined by the loss                                    Covered Property is damaged by a Covered
                 settlement procedure applicable to the                               Cause of Loss, we may take all or any part of
                 returned Covered Property under the                                  the property at an agreed or appraised value. If
                 Loss Payment Condition.                                              so, you may:
                                                                                      (a) Stamp the word salvage on the merchandise
                                                                                          or its containers, if the stamp will not
                                                                                          physically damage the merchandise; or




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                                                                                                       AmGUARD/Baths Certified Policy 040
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BUSINESSOWNER’S – Retail Stores

         (b) Remove the brands or labels, if doing so will                             (b) If the equipment is not repaired or replaced,
             not physically damage the merchandise.                                        we will not pay more than the lesser of:
             You must relabel the merchandise or its                                         (i) The actual cash value of the equipment
             containers to comply with the law.                                                  at the time of loss; or
      (2) We will pay reasonable costs you incur to                                         (ii) The Limit of Insurance shown in the
          perform the activity described in Paragraph (a)                                        Declarations as applicable to the Building
          or (b) above. But the total we pay for these                                           or Business Personal Property.
          costs and the value of the damaged property
          will not exceed the applicable Limit of Insurance                             (c) We will not pay for loss due to any
          on such property.                                                                 ordinance or law that:
   c. Ordinance Or Law – Equipment Coverage                                                  (i) You were required to comply with before
                                                                                                 the loss, even if the equipment was
      (1) Subject to Paragraph (2), if a Covered Cause of                                        undamaged; and
          Loss occurs to equipment that is Covered
          Property, we will pay to repair or replace the                                    (ii) You failed to comply with.
          equipment as required by law.                                         d. Lock Replacement
      (2) If a Covered Cause of Loss occurs to                                     (1) We will pay for the cost to repair or replace
          refrigeration equipment that is Covered                                      locks at the described premises due to theft or
          Property, we will pay:                                                       other loss to keys.
         (a) The cost to reclaim the refrigerant as                                (2) The most we will pay under this Additional
             required by law;                                                          Coverage for all loss or damage in any one
         (b) The cost to retrofit the equipment to use a                               occurrence is $1,000.
             non-CFC refrigerant as required by the                                (3) A per occurrence deductible of $100 will apply.
             Clean Air Act of 1990, and any amendments
             thereto or any other similar laws; and
                                                                                e. Web Sites
         (c) The increased cost to recharge the system
             with a non-CFC refrigerant.                                            We will pay for the actual loss of Business Income
                                                                                    you sustain due to the necessary suspension of
      (3) The terms of this coverage apply separately to                            your “operations” caused by direct physical loss or
          each piece of covered equipment.                                          damage by a Covered Cause of Loss to:
      (4) We will not pay under this Additional Coverage
                                                                                    (a) The operation of your business web site at a
          for the costs associated with the enforcement of
                                                                                        described location; or
          any ordinance or law which requires any
          insured or others to test for, monitor, clean up,                         (b) The operation of your business web site at the
          remove, contain, treat, detoxify or neutralize, or                            premises of a vendor acting as your service
          in any way respond to, or assess the effects of                               provider.
          "pollutants", "fungi", wet rot or dry rot.                                The most we will pay for loss under this Additional
      (5) Loss to the equipment will be determined as                               Coverage in any one occurrence is the lesser of:
          follows:                                                                  (a) The loss you sustain during the 7-day period
         (a) If the equipment is repaired or replaced, on                               immediately following the first 12 hours after
             the same or another premises, we will not                                  the suspension of your website operations; or
             pay more than the lesser of:                                           (b) $50,000.
              (i) The amount you actually spend to repair                           The most we will pay for loss under this Additional
                  the equipment, but not for more than the                          Coverage during each policy period is $100,000.
                  amount it would cost to replace the
                  equipment with equipment of the same                          f. Credit Card Slips
                  kind and quality; or                                              We will pay for amounts you are unable to collect
                                                                                    due to loss of or damage to credit card slips while
              (ii) The Limit of Insurance shown in the
                                                                                    located at the described premises as the result of a
                   Declarations as applicable to the covered
                                                                                    Covered Cause of Loss.
                   Building or Business Personal Property.
                                                                                    It is your responsibility to establish the amount of
                                                                                    the loss under this Additional Coverage. If it is not
                                                                                    possible, the amount of the loss will be determined
                                                                                    as follows:




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                                                                                                        AmGUARD/Baths Certified Policy 041
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BUSINESSOWNER’S – Retail Stores

      (1) If you have been in business for more than                                      Coverage provided by this Coverage
          twelve months at the location of the loss, one-                                 Extension applies for any of the Covered
          thirtieth (1/30) of the average monthly amount                                  Causes of Loss and for direct loss caused by
          of credit card slips will be considered as                                      flood, earthquake, and landslide.
          average daily credit card slips for that location.                              The most we will pay for loss or damage
           The twelve months immediately preceding the                                    under this Coverage Extension during each
           discovery of the loss will be used to determine                                policy period is $25,000 unless a higher limit
           the average monthly amount.                                                    is shown in the Declarations, but not more
      (2) If you have been in business for less than                                      than $5,000 for property in the care, custody
           twelve months at the location of the loss, the                                 or control of any one salesperson.
           average daily credit card slips shall be one-                  C. If the Employee Dishonesty Optional Coverage is
           thirtieth (1/30) of the average monthly amount                    shown as an applicable coverage in the Declarations,
           of credit card slips for the number of months                     the following is added to Paragraph 3. Employee
           you have been in business at that location.                       Dishonesty of Paragraph G. Optional Coverages of
      (3) The average daily credit card slips will be                        Section I – Property and is subject to the provisions
          multiplied by the number of days for which                         of that Paragraph:
          slips are lost to determine the amount of the                       3. Employee Dishonesty
          loss subject to the maximum limit indicated                              We will also pay for loss of or damage to "money",
          below.                                                                   "securities" and "other property" sustained by your
      The most we will pay as a result of loss or damage                           customer resulting directly from theft committed by
      to credit card slips under this Additional Coverage                          an identified employee, acting alone or in collusion
      during each policy period is $10,000.                                        with other persons.
B. The following are added to Paragraph A.6. Coverage                              The property covered under this coverage is limited
   Extension of Section I – Property:                                              to property:
    a. Loss Payment on Merchandise Sold                                            a. That your customer owns or leases; or
        You may extend the coverage that applies to your                           b. That your customer holds for others.
        Business Personal Property to cover loss of or                             Coverage applies only while the property is in a
        damage to merchandise that you have sold but                               Covered Building at the premises described in the
        not yet delivered.                                                         Declarations.
        The basis of the valuation of such merchandise                             However, this insurance is for your benefit only. It
        shall be the price paid by the customer to the                             provides no rights or benefits to any other person
        insured, not to exceed the amount for which the                            or organization, including your customer. Any claim
        insured is legally liable.                                                 for loss that is covered under this coverage must
        The most we will pay under this Coverage                                   be presented by you.
        Extension during each policy period is $25,000.                   D. For coverage provided under this endorsement the
    b. Property   in      Transit       (including        F.O.B.             following definitions are added to Paragraph H.
       Shipments)                                                            Property Definitions of Section I – Property:
       (1) You may extend the insurance provided by                           1. "Other property" means any tangible property other
           this Coverage Form to apply to loss or                                than "money" and "securities" that has intrinsic
           damage to personal property used in your                              value but does not include any property specifically
           business that is in transit at your risk more                         excluded under this policy.
           than 1,000 feet from the described premises.
            We cover property shipped:                                    E. The following are added to Paragraph A. Coverages
            (a) By any type of carrier you do not own,                       of Section II – Liability:
                lease, or operate;
            (b) In or on any vehicle you own, lease, or
                operate; or
            (c) In the care, custody, or control of your
                salesperson.
        (2) We will also pay for loss or damage to
            property you ship on a F.O.B., meaning Free
            on Board, basis if you cannot collect the loss
            from the consignee. But we will only pay the
            amount of your interest in the property.


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BUSINESSOWNER’S – Retail Stores

   1. Delivery Errors And Omissions Coverage                                        f. The following Condition replaces the Duties In
       a. We will pay those sums that the insured                                      The Event Of Occurrence, Offense, Claim Or
          becomes legally obligated to pay as damages                                  Suit Condition under Paragraph E. Liability
          because of a failure to deliver or a misdelivery                             And Medical Expenses General Conditions
          of items you hold for sale by you, any of your                               of Section II – Liability for the Delivery Errors
          "employees" or by a concessionaire trading                                   Or Omissions Coverage:
          under your name. We will have the right and                                   Duties In The Event Of A Delivery Error Or
          duty to defend the insured against any "suit"                                 Omission
          seeking those damages. However, we will have                                 (1) You must see to it that we are notified as
          no duty to defend the insured against any "suit"                                 soon as practicable of an error or omission
          seeking damages for delivery errors and                                          which may result in a claim. To the extent
          omissions to which this insurance does not                                       possible, notice should include:
          apply. We may, at our discretion, investigate the
          circumstances of any misdelivery or failure to                                   (a) How, when and where the error or
          deliver and settle any claim or "suit" that may                                      omission took place; and
          result. But:                                                                     (b) The name(s) and address(es) of the
         (1) The amount we will pay for damages is                                             affected customer(s).
             limited as described in Paragraph 1.e.                                    (2) If a claim is made or "suit" is brought against
             below;                                                                        any insured, you must:
         (2) We will not pay for loss or damage in any                                     (a) Immediately record the specifics of the
             one occurrence until the amount of loss or                                        claim or "suit" and the date received; and
             damage exceeds $250. We will then pay the
                                                                                           (b) Notify us as soon as practicable.
             amount of loss or damage in excess of $250
             up to the applicable Limit of Insurance for                                    You must see to it that we receive written
             this coverage; and                                                             notice of the claim or "suit" as soon as
                                                                                            practicable.
         (3) Our right and duty to defend end when we
             have used up the applicable Limit of                                      (3) You and any other involved insured must:
             Insurance in the payment of judgments or                                      (a) Immediately send us copies of any
             settlements under this Delivery Errors And                                        demands, notices, summonses or legal
             Omissions Coverage.                                                               papers received in connection with the
      b. This coverage applies only to errors in                                               claim or "suit";
         deliveries that take place or omissions of such                                   (b) Authorize us to obtain records and other
         deliveries that should have taken place in the                                        information;
         "coverage territory" and during the policy
         period.                                                                           (c) Cooperate with us in our investigation or
                                                                                               settlement of the claim or defense
       c. This coverage does not apply to:                                                     against the "suit"; and
         (1) Intentional error or intentional misdelivery or                               (d) Assist us, upon our request, in the
             failure to deliver "your product".                                                enforcement of any right against any
         (2) "Bodily injury", "property damage"                  or                            person or organization which may be
             "personal and advertising injury".                                                liable to the insured because of error or
                                                                                               omission to which this insurance may
         (3) Discrimination based on a customer's race,                                        apply.
             color, national origin, religion, gender,
             marital status, age, sexual orientation or                                (4) No insured will, except at that insured's own
             preference, physical or mental condition or                                   cost, voluntarily make a payment, assume
             residence location.                                                           any obligation, or incur any expense without
                                                                                           our consent.
      d. The Supplementary Payments provision
         applicable to the Bodily Injury, Property                             2. Merchandise Withdrawal Expenses Coverage
         Damage, and Personal And Advertising Injury                               a. We will reimburse you for "merchandise
         Liability Coverages also applies to this Delivery                            withdrawal expenses" incurred because of
         Errors And Omissions Coverage.                                               "merchandise withdrawal" to which this
       e. The most we will pay for the sum of all                                     insurance applies.
          damages under this coverage because of all                               b. This insurance applies to a "merchandise
          failures or misdeliveries is $10,000 in any                                 withdrawal"     only     if   the    "merchandise
          annual period starting with the beginning of the                            withdrawal" is initiated in the "coverage territory"
          policy period shown in the Declarations. This                               during the policy period because:
          limit applies separately to each premises
          described in the Declarations.
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BUSINESSOWNER’S – Retail Stores

         (1) You determine that the               "merchandise                         (2) A "defect" in "your product" known to exist
             withdrawal" is necessary; or                                                  by you or your "executive officers", prior to
                                                                                           the date this endorsement was first issued to
         (2) An authorized government entity has                                           you or prior to the time "your product" leaves
             ordered you to conduct a "merchandise                                         your control or possession.
             withdrawal".
                                                                                       (3) Recall of any specific product for which
      c. The initiation of a "merchandise withdrawal" will                                 "bodily injury" or "property damage" is
         be deemed to have been made only at the                                           excluded under Paragraph A. Coverages of
         earliest of the following times:                                                  Section II – Liability by endorsement.
         (1) When you first announced, in any manner,                                  (4) Recall when "your product" or a component
             to the general public, your vendors or to                                     contained within "your product" has been:
             your "employees" (other than those
             "employees" directly involved in making the                                   (a) Banned from the market by an
             determination) your decision to conduct or                                        authorized government entity prior to the
             participate in a "merchandise withdrawal".                                        policy period; or
             This applies regardless of whether the                                        (b) Distributed or sold by you subsequent to
             determination to conduct a "merchandise                                           any governmental ban.
             withdrawal" is made by you or is requested                                (5) The defense of a claim or "suit" against you
             by a third party; or                                                          for liability arising out of a "merchandise
         (2) When you first received, either orally or in                                  withdrawal".
             writing, notification of an order from an                                 (6) The costs of regaining goodwill, market
             authorized government entity to conduct a                                     share, revenue or "profit" or the costs of
             "merchandise withdrawal".                                                     redesigning "your product".
      d. "Merchandise withdrawal expenses" incurred to                              g. The most we will reimburse you for the sum of
         withdraw "your products" which contain the                                    all "merchandise withdrawal expenses" incurred
         same or substantially similar "defects" will be                               for all "merchandise withdrawals" initiated
         deemed to have arisen out of the same                                         during the policy period is $25,000.
         "merchandise withdrawal".
                                                                                    h. The following Condition replaces the Duties In
      e. We will not pay for loss or damage in any one                                 The Event Of Occurrence, Offense, Claim Or
         occurrence until the amount of loss or damage                                 Suit Condition under Paragraph E. Liability
         exceeds $250. We will then pay the amount of                                  And Medical Expenses General Conditions
         loss or damage in excess of $250 up to the                                    of Section II – Liability for the Merchandise
         applicable Limit of Insurance for this coverage.                              Withdrawal Expenses Coverage:
       f. This insurance does not apply to "merchandise                                 Duties In The Event Of A Defect Or A
          withdrawal expense" arising out of:                                           Merchandise Withdrawal
         (1) Any "merchandise withdrawal" initiated due                                (1) You must see to it that we are notified as
             to:                                                                           soon as practicable of any actual, suspected
            (a) The failure of "your product" to                                           or threatened "defect" in "your product" or
                accomplish     its   intended  purpose,                                    any governmental investigation, that may
                including any breach of warranty of any                                    result in a "merchandise withdrawal". To the
                kind, whether written or implied. This                                     extent possible, notice should include:
                exclusion does not apply if such failure                                   (a) How, when and where the "defect" was
                has caused or is reasonably expected to                                        discovered;
                cause "bodily injury".
                                                                                           (b) The names and addresses of any injured
            (b) Copyright, patent, trade secret, trade                                         persons and witnesses; and
                dress or trademark infringement.
                                                                                           (c) The nature, location and circumstances
            (c) Transformation of a chemical nature,                                           of any injury or damage arising out of
                deterioration, or decomposition of "your                                       use or consumption of "your product".
                product". This exclusion does not apply if
                it is caused by:                                                       (2) If a "merchandise withdrawal" is initiated,
                                                                                           you must:
                  (i) An error in manufacturing, design, or
                      processing;                                                          (a) Immediately record the specifics of the
                                                                                               "merchandise withdrawal" and the date it
                 (ii) Transportation of "your product"; or                                     was initiated; and
                 (iii) "Merchandise tampering".                                            (b) Notify us as soon as practicable.
            (d) Expiration of the designated shelf life of
                "your product"; or

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BUSINESSOWNER’S – Retail Stores

              You must see to it that we receive written                            e. Costs of hiring independent contractors and
              notice of the "merchandise withdrawal" as                                other temporary employees;
              soon as practicable.                                                   f. Costs of transportation, shipping or packaging;
         (3) You must promptly take all reasonable steps                            g. Costs of warehouse or storage space; or
             to mitigate the expenses associated with a
             "merchandise withdrawal". Any "profit" that                            h. Costs of proper disposal of "your products" or
             you receive from mitigating the expenses                                  products that contain "your products" that
             will be deducted from the amount of                                       cannot be reused, not exceeding your purchase
             reimbursement that you will receive for                                   price or your cost to produce the products.
             "merchandise withdrawal expenses".                                 5. "Profit" means the positive gain from business
         (4) You and any other involved insured must:                              operation after subtracting for all expenses.
              (a) Immediately send us copies of pertinent                  G. With respect to "bodily injury" or "property damage"
                  correspondence received in connection                       arising out of "your products" manufactured, sold,
                  with the "merchandise withdrawal";                          handled or distributed in conjunction with the conduct
                                                                              of your retail operation, when conducted by you or on
              (b) Authorize us to obtain records and other                    your behalf, Paragraph a. of the definition of "products-
                  information; and                                            completed operations hazard" in Paragraph F.
              (c) Cooperate with us in our investigation of                   Liability And Medical Expenses Definitions of
                  the "merchandise withdrawal".                               Section II – Liability is replaced by the following:
F. For coverage provided under this endorsement the                             "Products-completed operations hazard":
   following definitions are added to Paragraph F.                              a. Includes all "bodily injury" and "property damage"
   Liability And Medical Expenses Definitions of                                   that arises out of "your products" if the "bodily
   Section II – Liability:                                                         injury" or "property damage" occurs after you have
   1. "Defect" means a defect, deficiency or inadequacy                            relinquished possession of those products.
      that creates a dangerous condition.
   2. "Merchandise tampering" is an act of intentional
      alteration of "your product" which has caused or is
      reasonably expected to cause "bodily injury".
      When "merchandise tampering" is known,
      suspected or threatened, a "merchandise
      withdrawal" will be limited to those batches of "your
      product" which are known or suspected to have
      been tampered with.
   3. "Merchandise withdrawal" means the recall or
      withdrawal:
       a. From the market; or
      b. From use by any other person or organization;
      of "your products" or products which contain "your
      products", because of known or suspected
      "defects" in "your product", or known or suspected
      "product tampering", which has caused or is
      reasonably expected to cause "bodily injury".
   4. "Merchandise withdrawal expenses" means those
      reasonable and necessary extra expenses listed
      below, paid and directly related to a "merchandise
      withdrawal":
       a. Costs of notification;
      b. Costs of stationery, envelopes, production of
         announcements and postage or facsimiles;
       c. Costs of overtime paid to your regular non-
          salaried employees and costs incurred by your
          employees including costs of transportation and
          accommodations;
      d. Costs of computer time;


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                                                                                                          BUSINESSOWNER’S
                                                                                                               BP 99 41 10 14



     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            BUSINESS INCOME, EXTRA EXPENSE AND
           RELATED COVERAGES LIMIT OF INSURANCE
This endorsement modifies insurance provided under the following:

   BUSINESSOWNER’S COVERAGE FORM

                                                          SCHEDULE
Site 001

Business Income, Extended Business Income, Extra Expense
Limit:                                                                                                                 $500,000

Location 001: 4230 Richmond Ave, Houston, TX 77027-6839
Building 001: Home Improvement Store - 5398901




With respect to the location(s) shown in the Schedule,
the following provisions apply to Section I – Property                B. However, Paragraph A. does not apply to
and supersede any provisions to the contrary:                            coverages provided by any of the following
A. The most we will pay for each “site” listed above                     endorsements:
   under any one or more of the following coverages;                      1. Water     Back-up   And      Sump   Overflow
   1. Paragraph A.5.f. Business Income Additional                            Endorsement (if that endorsement is attached
      Coverage;                                                              to this Businessowner’s Policy);
   2. Paragraph A.5.g. Extra Expense Additional                           2. Earthquake Endorsement (if that endorsement
      Coverage;                                                              is attached to this Businessowner’s Policy);
   3. Paragraph A.5.i. Civil Authority Additional                         3. Earthquake And Volcanic Eruption (Sub-limit)
      Coverage;                                                              Endorsement (if that endorsement is attached
   4. Paragraph A.5.m. Business Income From                                  to this Businessowner’s Policy);
      Dependent Properties Additional Coverage;                           4. Flood Coverage Endorsement (if                  that
      and                                                                    endorsement     is     attached to              this
   5. Paragraph A.5.q. Interruption Of Computer                              Businessowner’s Policy).
      Operations Additional Coverage;                                     5. Hotels/Motels Endorsement (if that endorse-
   for all loss sustained and expense incurred is the                        ment is attached to this Businessowner’s
   applicable Business Income, Extra Expense and                             Policy);
   Related Coverages Limit of Insurance shown in                          6. Professional Offices Endorsement (if that en-
   the Schedule of this endorsement. This Limit of                           dorsement is attached to this Businessowner’s
   Insurance applies regardless of the number of                             Policy);
   locations or buildings included at the site. The                       7. Retail Stores Endorsement (if that endorse-
   Limit of Insurance of Section I – Property shown                          ment is attached to this Businessowner’s
   in the Declarations does not apply to these                               Policy);
   Additional Coverages.




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BUSINESSOWNER’S – Business Income, Extra Expense and Related Coverages Limit of Insurance
C. As used in this endorsement, “Site” means all
   locations and buildings scheduled to one limit of
   insurance as indicated in the schedule of this
   endorsement.




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                                                                                                            BUSINESSOWNER’S
                                                                                                                 BP 99 60 03 12



     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 WATER BACK-UP AND SUMP OVERFLOW
This endorsement modifies insurance provided under the following:

   BUSINESSOWNER’S COVERAGE FORM

                                                 SCHEDULE
                             Covered Property Annual Aggregate          Business Income And Extra Expense
   Premises Number                   Limit Of Insurance                Annual Aggregate Limit Of Insurance
Location 001, Building        $5,000                                      $5,000
001
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.




A. We will pay for direct physical loss or damage to                     2. Perform the routine maintenance or repair
   Covered Property, covered under Section I –                              necessary to keep a sewer or drain free from
   Property, caused by or resulting from:                                   obstructions.
   1. Water or waterborne material which backs up                    C. The most we will pay for the coverage provided
      through or overflows or is otherwise discharged                   under this endorsement for all direct physical loss
      from a sewer or drain; or                                         or damage to Covered Property is the Covered
   2. Water or waterborne material which overflows                      Property Annual Aggregate Limit of Insurance.
      or is otherwise discharged from a sump, sump                      That limit is $5,000 per location, unless a different
      pump or related equipment, even if the                            Covered Property Annual Aggregate Limit of
      overflow or discharge results from mechanical                     Insurance is indicated in the Schedule of this
      breakdown of a sump pump or its related                           endorsement.
      equipment.                                                         The applicable Covered Property Annual
   However, with respect to Paragraph A.2., we will                      Aggregate Limit of Insurance is the most we will
   not pay the cost of repairing or replacing a sump                     pay under this endorsement for the total of all
   pump or its related equipment in the event of                         direct physical loss or damage sustained in any
   mechanical breakdown.                                                 one policy year, regardless of the number of
                                                                         occurrences that cause or result in loss or damage
   THIS IS NOT FLOOD INSURANCE. We will not                              to Covered Property. If loss payment for the first
   pay for loss or damage from water or other                            such occurrence does not exhaust the applicable
   materials that back up or overflow from any                           Limit of Insurance, then the balance of that Limit is
   sewer, drain or sump that itself is caused,                           available for subsequent loss or damage
   directly or indirectly, in whole or in part, by any                   sustained in, but not after, that policy year. With
   flood. Flood means the overflow of surface                            respect to an occurrence which begins in one
   water, waves, tides, tidal waves, streams, or                         policy year and continues or results in additional
   other bodies of water, or their spray, all                            loss or damage in a subsequent policy year(s), all
   whether driven by wind or not.                                        loss or damage is deemed to be sustained in the
B. The coverage described in Paragraph A. of this                        policy year in which the occurrence began.
   endorsement does not apply to loss or damage                      D. The following provisions apply to Section I –
   resulting from an insured's failure to:                              Property and supersede any provisions to the
   1. Keep a sump pump or its related equipment in                      contrary:
      proper working condition; or                                       The most we will pay under:




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BUSINESSOWNER’S – Water Back-Up and Sump Overflow Endorsement

   1. Paragraph A.5.f. Business Income Additional                          4. Waterborne material carried or otherwise
      Coverage for all loss of Business Income you                            moved by any of the water referred to in
      sustain due to the necessary suspension of                              Paragraph 1. or 3., or material carried or
      your "operations" caused by direct physical                             otherwise moved by mudslide or mudflow.
      loss or damage to Covered Property as                                This exclusion applies regardless of whether any
      described in Paragraph A. of this endorsement;                       of the above, in Paragraphs 1. through 4., is
      and                                                                  caused by an act of nature or is otherwise caused.
   2. Paragraph A.5.g. Extra Expense Additional                            An example of a situation to which this exclusion
      Coverage for all necessary Extra Expense you                         applies is the situation where a dam, levee,
      incur and that you would not have incurred if                        seawall or other boundary or containment system
      there had been no direct physical loss or                            fails in whole or in part, for any reason, to contain
      damage to Covered Property as described in                           the water.
      Paragraph A. of this endorsement;                                    But if any of the above, in Paragraphs 1. through
   is the Business Income And Extra Expense                                4., results in fire, explosion or sprinkler leakage,
   Annual Aggregate Limit of Insurance. That limit is                      we will pay for the loss or damage caused by that
   $5,000 per location, unless a different Business                        fire, explosion or sprinkler leakage.
   Income And Extra Expense Annual Aggregate
   Limit of Insurance is shown in the Schedule.
   The applicable Business Income And Extra
   Expense Annual Aggregate Limit of Insurance is
   the most we will pay under this endorsement for
   the total of all loss of Business Income you sustain
   and Extra Expense you incur in any one policy
   year, regardless of the number of occurrences that
   cause or result in loss or damage to Covered
   Property as described in Paragraph A. of this
   endorsement. If loss payment during an earlier
   "period of restoration" in the policy year does not
   exhaust the applicable Limit of Insurance, then the
   balance of that Limit is available for loss of
   Business Income you sustain or Extra Expense
   you incur during a subsequent "period of
   restoration" beginning in, but not after, that policy
   year. With respect to a "period of restoration"
   which begins in one policy year and continues in a
   subsequent policy year(s), all loss of Business
   Income you sustain or Extra Expense you incur is
   deemed to be sustained or incurred in the policy
   year in which the "period of restoration" began.
E. With respect to the coverage provided under this
   endorsement, the Water Exclusion in Section I –
   Property is replaced by the following exclusion:
   Water
   1. Flood, surface water, waves (including tidal
      wave and tsunami), tides, tidal water, overflow
      of any body of water, or spray from any of
      these, all whether or not driven by wind
      (including storm surge);
   2. Mudslide or mudflow; or
   3. Water under the ground surface pressing on,
      or flowing or seeping through:
       a. Foundations,     walls,     floors     or    paved
          surfaces;
      b. Basements, whether paved or not; or
       c. Doors, windows or other openings; or




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                                                                                                                    BUSINESSOWNER’S
                                                                                                                         BP 99 63 03 12


         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           UTILITY SERVICES – TIME ELEMENT
   This endorsement modifies insurance provided under the following:

      BUSINESSOWNER’S COVERAGE FORM

                                                                 SCHEDULE
                                                                                         Communication                     Power
                                                                           Water         Supply Property               Supply Property
                                                                          Supply                       Enter Either
                                                                         Property              "Included" Or "Not Included"
    Prem.         Bldg.               Utility Services                   (Check If             Overhead Transmission Lines
     No.           No.              Limit Of Insurance                   Applies)                     (If Applicable)
   001           001        $    25,000                                      X                     X                            X
                                                                                               Includes                     Includes
   Information required to complete this Schedule, if not shown above, will be shown in the Declarations.




   The coverage provided by this endorsement is subject                          2. Communication Supply Services, meaning
   to the provisions of Section I – Property, except as                             property supplying communication services, in-
   provided below.                                                                  cluding telephone, radio, microwave or televi-
   A. The following is added to Paragraph A. Coverage:                              sion services to the described premises, such
                                                                                    as:
      We will pay for loss of Business Income or Extra
      Expense at the described premises caused by the                               a. Communication transmission lines, including
      interruption of service to the described premises.                               optic fiber transmission lines;
      The interruption must result from direct physical                             b. Coaxial cables; and
      loss or damage by a Covered Cause of Loss to the                              c. Microwave radio relays except satellites.
      property described in Paragraph C. of this en-
      dorsement if such property is indicated in the                                It does not include overhead transmission lines
      Schedule.                                                                     unless indicated in the Schedule.
   B. Exception                                                                  3. Power Supply Services, meaning the following
                                                                                    types of property supplying electricity, steam or
      Coverage under this endorsement does not apply                                gas to the described premises:
      to Business Income loss or Extra Expense related
      to interruption in utility service which causes loss or                       a. Utility generating plants;
      damage to "electronic data", including destruction                            b. Switching stations;
      or corruption of "electronic data".
                                                                                    c. Substations;
   C. Utility Services
                                                                                    d. Transformers; and
      1. Water Supply Services, meaning the following
                                                                                    e. Transmission lines.
         types of property supplying water to the de-
         scribed premises:                                                          It does not include overhead transmission lines
                                                                                    unless indicated in the Schedule.
          a. Pumping stations; and
         b. Water mains.



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   BUSINESSOWNER’S – Utility Services – Time Element



   D. Paragraph C. Limits Of Insurance is replaced by
      the following:
      The most we will pay for loss or damage in any one
      occurrence is the Limit Of Insurance shown in the
      Schedule as applicable to the Covered Property.
   E. With respect to the Business Income Coverage
      provided by this endorsement we will only pay for
      loss you sustain after the first 72 hours after the
      time of direct physical loss or damage by a Cov-
      ered Cause of Loss to the property to which this
      endorsement applies.




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                                                    AmGUARD/Baths Certified Policy 086
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                                                    AmGUARD/Baths Certified Policy 087
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                                                    AmGUARD/Baths Certified Policy 094
Case 4:16-cv-02592 Document 72 Filed on 03/21/18 in TXSD Page 102 of 123




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Case 4:16-cv-02592 Document 72 Filed on 03/21/18 in TXSD Page 103 of 123




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Case 4:16-cv-02592 Document 72 Filed on 03/21/18 in TXSD Page 107 of 123




                                                    AmGUARD/Baths Certified Policy 100
Case 4:16-cv-02592 Document 72 Filed on 03/21/18 in TXSD Page 108 of 123




                                                    AmGUARD/Baths Certified Policy 101
Case 4:16-cv-02592 Document 72 Filed on 03/21/18 in TXSD Page 109 of 123




                                                    AmGUARD/Baths Certified Policy 102
Case 4:16-cv-02592 Document 72 Filed on 03/21/18 in TXSD Page 110 of 123




                                                    AmGUARD/Baths Certified Policy 103
        Case 4:16-cv-02592 Document 72 Filed on 03/21/18 in TXSD Page 111 of 123
POLICY NUMBER:BABP700014                                                              BUSINESSOWNERS
Date Processed: 02/02/2016                                                                BP 12 01 07 02

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 BUSINESSOWNERS POLICY CHANGES

    Baths of America, Inc
    4230 Richmond Ave
    Houston, TX 77027-6839



THIS ENDORSEMENT FORMS A PART OF THE POLICY NUMBERED BELOW.

POLICY NUMBER                   POLICY CHANGES EFFECTIVE           COMPANY
BABP700014                      01/17/2016                         AmGUARD Insurance Company

NAMED INSURED                                                      AUTHORIZED REPRESENTATIVE
Baths of America, Inc

                                                 CHANGES


 Additional Insured - Co-Owner of Insured Premises
 Added          Name: Allen & Mindy Meisel
                Address: 14618 Mansfield Dam Ct Unit 18
                City: Austin
                State: TX
                Zip: 78734


 Additional Names of the Insured
 Added         Allen & Mindy Meisel; Effective: 01/01/2016-01/01/2017


 Loss Payable Provision
 Added         Loss Payee Name: JPMorgan Chase Bank N.A.
               Address: P.O. Box 6026
               City: Chicago
               State: IL
               Zip: 60680
               Provision Applicable: A. Loss Payable
               Account Number:


 Policy Forms
 Added           Additional Insured - Co-Owner of Insured Premises (BP 04 11 01 06)
 Added           Loss Payable Clauses (BP 12 03 01 10)




BP 12 01 07 02                           © ISO Properties, Inc., 2001                          Page 1 of 3    

                                                                               AmGUARD/Baths Certified Policy 104
        Case 4:16-cv-02592 Document 72 Filed on 03/21/18 in TXSD Page 112 of 123




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                                                              AmGUARD/Baths Certified Policy 105
         Case 4:16-cv-02592 Document 72 Filed on 03/21/18 in TXSD Page 113 of 123
                              POLICY AMOUNT AND PREMIUM ADJUSTMENT
                         Limits Of Insurance                      Premiums
Coverage             Previous Limit     New Limit          Previous           New                Add'l Premium
Description          Of Insurance      Of Insurance        Premium          Premium             Return Premium
                                                       $                $                 $

                                      TOTAL PREMIUM ADJUSTMENTS

                           PREMIUM DUE AT POLICY CHANGE EFFECTIVE DATE

                           ADDITIONAL                                        RETURN

                           $ 0.00                                                $ 0.00

REMOVAL       If Covered Property is removed to a new location that is described on this Policy Change, you may
PERMIT        extend this insurance to include that Covered Property at each location during the removal. Cov-
              erage at each location will apply in the proportion that the value at each location bears to the value
              of all Covered Property being removed. This permit applies up to 10 days after the effective date
              of this Policy Change: after that, this insurance does not apply at the previous location.




BP 12 01 07 02                             © ISO Properties, Inc., 2001                                 Page 3 of 3

                                                                                    AmGUARD/Baths Certified Policy 106
         Case 4:16-cv-02592 Document 72 Filed on 03/21/18 in TXSD Page 114 of 123
POLICY NUMBER: BABP700014                                                                  BUSINESSOWNERS
                                                                                               BP 04 11 01 06

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 ADDITIONAL INSURED – CO-OWNER OF
                         INSURED PREMISES
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

                                                   SCHEDULE

A. Name Of Person Or Organization:

    Allen & Mindy Meisel

B. Location Of Premises:
   4230 Richmond Ave
   Houston, TX 77027-6839

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


The following is added to Paragraph C. Who Is An
Insured in Section II – Liability:
3. The person or organization shown in the Sche-
   dule is also an insured, but only with respect to
   liability as co-owner of the premises shown in the
   Schedule.




BP 04 11 01 06                             © ISO Properties, Inc., 2004                                  Page 1 of 1   

                                                                                  AmGUARD/Baths Certified Policy 107
         Case 4:16-cv-02592 Document 72 Filed on 03/21/18 in TXSD Page 115 of 123
POLICY NUMBER: BABP700014                                                                    BUSINESSOWNERS
                                                                                                 BP 12 03 01 10

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                LOSS PAYABLE CLAUSES
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

                                                   SCHEDULE

Premises Number: 001                Building Number: 001            Applicable Clause               A
                                                                    (Indicate Paragraph A, B or C):
Description Of Property:

Loss Payee Name:             JPMorgan Chase Bank N.A.

Loss Payee Address:         P.O. Box 6026
                            Business Banking Loan Services IL1-0054
                            Chicago, IL, 60680
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.




Nothing in this endorsement increases the applicable              d. Financing statements; or
Limit of Insurance. We will not pay any Loss Payee                e. Mortgages, deeds of trust, or security
more than their financial interest in the Covered Prop-              agreements.
erty, and we will not pay more than the applicable
Limit of Insurance on the Covered Property.                    2. For Covered Property in which both you and a
                                                                  Loss Payee have an insurable interest:
The following is added to the Loss Payment Property
Loss Condition in Section I – Property, as shown in               a. We will pay for covered loss or damage to
the Declarations or in the Schedule:                                 each Loss Payee in their order of prece-
                                                                     dence, as interests may appear.
A. Loss Payable Clause
                                                                  b. The Loss Payee has the right to receive
   For Covered Property in which both you and a                      loss payment even if the Loss Payee has
   Loss Payee shown in the Schedule or in the Dec-                   started foreclosure for similar action on the
   larations have an insurable interest, we will:                    Covered Property.
   1. Adjust losses with you; and                                 c. If we deny your claim because of your acts
   2. Pay any claim for loss or damage jointly to you                or because you have failed to comply with
      and the Loss Payee, as interests may appear.                   the terms of this policy, the Loss Payee will
B. Lender's Loss Payable Clause                                      still have the right to receive loss payment if
                                                                     the Loss Payee:
   1. The Loss Payee shown in the Schedule or in
      the Declarations is a creditor, including a mort-              (1) Pays any premium due under this policy
      gageholder or trustee, whose interest in that                      at our request if you have failed to do
      Covered Property is established by such writ-                      so;
      ten instruments as:                                            (2) Submits a signed, sworn proof of loss
       a. Warehouse receipts;                                            within 60 days after receiving notice
                                                                         from us of your failure to do so; and
      b. A contract for deed;
       c. Bills of lading;




BP 12 03 01 10                        © Insurance Services Office, Inc., 2009                          Page 1 of 2     

                                                                                  AmGUARD/Baths Certified Policy 108
        Case 4:16-cv-02592 Document 72 Filed on 03/21/18 in TXSD Page 116 of 123

        (3) Has notified us of any change in owner-             2. We will adjust losses to the described building
            ship, occupancy or substantial change                  with the Loss Payee. Any loss payment made
            in risk known to the Loss Payee.                       to the Loss Payee will satisfy your claims
         All of the terms of Section I – Property will             against us for the owner's property.
         then apply directly to the Loss Payee.                 3. We will adjust losses to tenant's improvements
      d. If we pay the Loss Payee for any loss or                  and betterments with you, unless the lease
         damage and deny payment to you because                    provides otherwise.
         of your acts or because you have failed to
         comply with the terms of this policy:
        (1) The Loss Payee's rights will be trans-
            ferred to us to the extent of the amount
            we pay; and
        (2) The Loss Payee's right to recover the
            full amount of the Loss Payee's claim
            will not be impaired.
              At our option, we may pay to the Loss
              Payee the whole principal on the debt
              plus any accrued interest. In this event,
              you will pay your remaining debt to us.
   3. If we cancel this policy, we will give written
      notice to the Loss Payee at least:
      a. 10 days before the effective date of cancel-
         lation if we cancel for your nonpayment of
         premium; or
      b. 30 days before the effective date of cancel-
         lation if we cancel for any other reason.
   4. If we do not renew this policy, we will give
      written notice to the Loss Payee at least 10
      days before the expiration date of this policy.
C. Contract Of Sale Clause
   1. The Loss Payee shown in the Schedule or in
      the Declarations is a person or organization
      you have entered a contract with for the sale of
      Covered Property.
   2. For Covered Property in which both you and
      the Loss Payee have an insurable interest, we
      will:
      a. Adjust losses with you; and
      b. Pay any claim for loss or damage jointly to
         you and the Loss Payee, as interests may
         appear.
   3. The following is added to Paragraph H. Other
      Insurance in Section III – Common Policy
      Conditions:
      For Covered Property that is the subject of a
      contract of sale, the word "you" includes the
      Loss Payee.
D. Building Owner Loss Payable Clause
   1. The Loss Payee shown in the Schedule or in
      the Declarations is the owner of the described
      building, in which you are a tenant.




Page 2 of 2                            © Insurance Services Office, Inc., 2009                    BP 12 03 01 10     

                                                                                   AmGUARD/Baths Certified Policy 109
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                           Baths of America, Inc
                           4230 Richmond Ave
                           Houston, TX 77027-6839




                                                    AmGUARD/Baths Certified Policy 110
        Case 4:16-cv-02592 Document 72 Filed on 03/21/18 in TXSD Page 118 of 123
POLICY NUMBER:BABP700014                                                              BUSINESSOWNERS
Date Processed: 05/31/2016                                                                BP 12 01 07 02

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 BUSINESSOWNERS POLICY CHANGES

    Baths of America, Inc
    4230 Richmond Ave
    Houston, TX 77027-6839



THIS ENDORSEMENT FORMS A PART OF THE POLICY NUMBERED BELOW.

POLICY NUMBER                   POLICY CHANGES EFFECTIVE           COMPANY
BABP700014                      01/17/2016                         AmGUARD Insurance Company

NAMED INSURED                                                      AUTHORIZED REPRESENTATIVE
Baths of America, Inc

                                                 CHANGES


 Additional Insured - Building Owners
 Added          State: TX
                Zip: 78734
                Address: 14618 Mansfield Dam Ct #18
                City: Austin
                Building Owner Name: Allen & Mindy Meisel


 Additional Insured - Co-Owner of Insured Premises
 Deleted        Name: Allen & Mindy Meisel
                Address: 14618 Mansfield Dam Ct Unit 18
                City: Austin
                State: TX
                Zip: 78734


 Policy Forms
 Added           Additional Insured - Building Owners (BP 12 31 01 10)
 Added           Additional Insured - Building Owners (BP 12 31 01 10)
 Deleted         Additional Insured - Co-Owner of Insured Premises (BP 04 11 01 06)




BP 12 01 07 02                           © ISO Properties, Inc., 2001                          Page 1 of 2    

                                                                               AmGUARD/Baths Certified Policy 111
         Case 4:16-cv-02592 Document 72 Filed on 03/21/18 in TXSD Page 119 of 123
                              POLICY AMOUNT AND PREMIUM ADJUSTMENT
                         Limits Of Insurance                      Premiums
Coverage             Previous Limit     New Limit          Previous           New                Add'l Premium
Description          Of Insurance      Of Insurance        Premium          Premium             Return Premium
                                                       $                $                 $

                                      TOTAL PREMIUM ADJUSTMENTS

                           PREMIUM DUE AT POLICY CHANGE EFFECTIVE DATE

                           ADDITIONAL                                        RETURN

                           $ 0.00                                                $ 0.00

REMOVAL       If Covered Property is removed to a new location that is described on this Policy Change, you may
PERMIT        extend this insurance to include that Covered Property at each location during the removal. Cov-
              erage at each location will apply in the proportion that the value at each location bears to the value
              of all Covered Property being removed. This permit applies up to 10 days after the effective date
              of this Policy Change: after that, this insurance does not apply at the previous location.




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                                                                                    AmGUARD/Baths Certified Policy 112
         Case 4:16-cv-02592 Document 72 Filed on 03/21/18 in TXSD Page 120 of 123
POLICY NUMBER: BABP700014                                                                   BUSINESSOWNERS
                                                                                                BP 12 31 01 10

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              ADDITIONAL INSURED – BUILDING OWNER
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

                                                  SCHEDULE

Premises Number: 001                                      Building Number: 001

Building Description:        Home Improvement Store - 5398901

Building Owner Name:         Allen & Mindy Meisel

Building Owner Address:      14618 Mansfield Dam Ct #18
                             Austin, TX 78734
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.




The following is added to Section I – Property:
The building owner identified in this endorsement is a
Named Insured, but only with respect to the property
coverage provided by this insurance for direct
physical loss or damage to the building(s) described
in the Schedule.




BP 12 31 01 10                       © Insurance Services Office, Inc., 2009                         Page 1 of 1   

                                                                                  AmGUARD/Baths Certified Policy 113
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                           Baths of America, Inc
                           4230 Richmond Ave
                           Houston, TX 77027-6839




                                                    AmGUARD/Baths Certified Policy 114
        Case 4:16-cv-02592 Document 72 Filed on 03/21/18 in TXSD Page 122 of 123
POLICY NUMBER:BABP700014                                                          BUSINESSOWNERS
Date Processed: 06/06/2016                                                            BP 12 01 07 02

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 BUSINESSOWNERS POLICY CHANGES

    Baths of America, Inc
    4230 Richmond Ave
    Houston, TX 77027-6839



THIS ENDORSEMENT FORMS A PART OF THE POLICY NUMBERED BELOW.

POLICY NUMBER                  POLICY CHANGES EFFECTIVE           COMPANY
BABP700014                     01/17/2016                         AmGUARD Insurance Company

NAMED INSURED                                                     AUTHORIZED REPRESENTATIVE
Baths of America, Inc

                                                CHANGES


 Loss Payable Provision
 Deleted       Loss Payee Name: JPMorgan Chase Bank N.A.
               Address: P.O. Box 6026
               City: Chicago
               State: IL
               Zip: 60680
               Provision Applicable: A. Loss Payable
               Account Number:


 Policy Forms
 Deleted         Loss Payable Clauses (BP 12 03 01 10)




BP 12 01 07 02                          © ISO Properties, Inc., 2001                       Page 1 of 2    

                                                                           AmGUARD/Baths Certified Policy 115
         Case 4:16-cv-02592 Document 72 Filed on 03/21/18 in TXSD Page 123 of 123
                              POLICY AMOUNT AND PREMIUM ADJUSTMENT
                         Limits Of Insurance                      Premiums
Coverage             Previous Limit     New Limit          Previous           New                Add'l Premium
Description          Of Insurance      Of Insurance        Premium          Premium             Return Premium
                                                       $                $                 $

                                      TOTAL PREMIUM ADJUSTMENTS

                           PREMIUM DUE AT POLICY CHANGE EFFECTIVE DATE

                           ADDITIONAL                                        RETURN

                           $ 0.00                                                $ 0.00

REMOVAL       If Covered Property is removed to a new location that is described on this Policy Change, you may
PERMIT        extend this insurance to include that Covered Property at each location during the removal. Cov-
              erage at each location will apply in the proportion that the value at each location bears to the value
              of all Covered Property being removed. This permit applies up to 10 days after the effective date
              of this Policy Change: after that, this insurance does not apply at the previous location.




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                                                                                    AmGUARD/Baths Certified Policy 116
